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     1              IN THE UNITED STATES DISTRICT COURT
     2               FOR THE NORTHERN DISTRICT OF OHIO
     3                        EASTERN DIVISION
     4                            - - -
     5
           IN RE: NATIONAL             :    MDL NO. 2804
     6     PRESCRIPTION OPIATE         :
           LITIGATION                  :
     7                                 :
           ------------------------------------------------
     8     THIS DOCUMENT RELATES TO    : CASE NO.
           ALL CASES                   : 1:17-MD-2804
     9                                 :
                                       : Hon. Dan A.
   10                                  : Polster
   11                          - - -
   12                      January 30, 2019
   13                          - - -
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   14                   CONFIDENTIALITY REVIEW
   15
   16                    Videotaped deposition of JANET
          GETZEY HART taken pursuant to notice, was held at
   17     the law offices of Morgan, Lewis & Bockius LLP,
          1701 Market Street, Philadelphia, Pennsylvania,
   18     beginning at 9:34 a.m., on the above date, before
          Ann Marie Mitchell, a Federally Approved
   19     Certified Realtime Reporter, Registered Diplomate
          Reporter, Registered Merit Reporter and Notary
   20     Public.
   21                          - - -
   22                 GOLKOW LITIGATION SERVICES
                  877.370.3377 ph | 917.591.5672 fax
   23                      deps@golkow.com
   24

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    1   APPEARANCES:                                        1 APPEARANCES VIA TELEPHONE AND STREAM:
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                                                  Page 3                                              Page 5
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   19     Representing McKesson                                   Precision Trial Solutions
   20                                                      21
   21                                                      22     EMMA KABOLI
   22                                                             Baron & Budd, P.C.
   23                                                      23     (via stream)
   24                                                      24             - - -

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                                            Page 6                                           Page 8
    1              - - -                              1   Rite      Email chain, top one   201
    2              INDEX                                  Aid-Hart-11 dated 2002-05-14, Bates
    3              - - -
                                                      2           stamped
    4                                                             Rite_Aid_OMDL_0046770
    5   Testimony of: JANET GETZEY HART
                                                      3           through
                                                                  Rite_Aid_OMDL_0046789
    6   By Mr. Powers           10                    4
    7                                                     Rite      Email chain, top one   209
    8             - - -                               5   Aid-Hart-12 dated 2012-07-11, Bates
    9            EXHIBITS                                         stamped
   10             - - -
                                                      6           Rite_Aid_OMDL_0013345
   11                                                             and
                                                      7           Rite_Aid_OMDL_0013346
        NO.           DESCRIPTION          PAGE       8   Rite      Email dated 2012-05-18, 213
   12                                                     Aid-Hart-13 Bates stamped
        Rite      Distribution/Customer 99            9           Rite_Aid_OMDL_0046855
   13   Aid-Hart-1 Support Center, DEA                            through
                Regulatory Guidelines,
                                                     10           Rite_Aid_OMDL_0046875
                                                     11   Rite      Email chain, top one   226
   14           Policy, Bates stamped                     Aid-Hart-14 dated 2012-12-18, Bates
                Rite_Aid_OMDL_0046157                12           stamped
   15           through                                           Rite_Aid_OMDL_0038054
                Rite_Aid_OMDL_0046226                13           and
   16
                                                     14
                                                                  Rite_Aid_OMDL_0038055
        Rite      Rite Aid Distribution 120               Rite      Email dated 2013-09-04, 238
   17   Aid-Hart-2 Center DEA Regulatory             15   Aid-Hart-15 Bates stamped
                Guidelines,                                       Rite_Aid_OMDL_0046648
   18           Rite_Aid_OMDL_0014804                16           through
                through                              17
                                                                  Rite_Aid_OMDL_0046662
   19           Rite_Aid_OMDL_0014874                     Rite      Email dated 2013-12-24, 249
   20   Rite      Controlled Drug Above   124        18   Aid-Hart-16 Bates stamped
        Aid-Hart-3 Average Order Monitoring                       Rite_Aid_OMDL_0016186
   21           Program, Bates stamped               19           and
                Rite_Aid_OMDL_0015079                20
                                                                  Rite_Aid_OMDL_0016187
   22           through                              21
                Rite_Aid_OMDL_0015081                22
   23                                                23
   24                                                24

                                            Page 7                                           Page 9
    1   Rite      Pharmacy Replenishment      140     1            - - -
        Aid-Hart-4 System Store Order                 2         DEPOSITION SUPPORT INDEX
    2           History, Bates stamped
                Rite_Aid_OMDL_0015302                 3            - - -
    3           through                               4
    4
                Rite_Aid_OMDL_0015307                        Direction to Witness Not to Answer
        Rite      Excel Spreadsheet       160         5
    5   Aid-Hart-5 Printout, Bates stamped                          Page Line
    6
                Rite_Aid_OMDL_0013151                 6
        Rite      Rite Aid Controlled Drug 172                       62 8
    7   Aid-Hart-6 Reporting Above Average            7
                Controlled Drug
    8           Purchases Report, Bates               8
                stamped                               9
    9           Rite_Aid_OMDL_0046227
                through                                      Request for Production of Documents
   10           Rite_Aid_OMDL_0046319                10
   11   Rite      Email chain, top one    183
        Aid-Hart-7 dated 2010-11-16, Bates                          Page Line
   12           stamped                              11
   13
                Rite_Aid_OMDL_0050632                12
        Rite      Email chain, top one    185        13
   14   Aid-Hart-8 dated 2010-11-17, Bates           14            Stipulations
                stamped
   15           Rite_Aid_OMDL_0050633                15            Page Line
   16   Rite      Email chain top one     194        16
        Aid-Hart-9 dated Email dated                 17
   17           2010-04-11, Bates
                stamped                              18
   18           Rite_Aid_OMDL_0050628                19           Question Marked
                through
   19           Rite_Aid_OMDL_0050630                20            Page Line
   20   Rite      Email dated 2011-06-03, 199        21
        Aid-Hart-10 Bates stamped
   21
   22
                Rite_Aid_OMDL_0050634                22
                                                     23
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   24                                                24

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    1           THE VIDEOGRAPHER: We're now on             1   deposed, 20 years ago, what was that in
    2      the record. My name is David Lane,              2   connection with?
    3      videographer for Golkow Litigation              3         A. It was related to an alleged
    4      Services. Today's date is January 30,           4   price fixing for third parties in Baltimore,
    5      2019. The time is 9:34 a.m.                     5   Maryland.
    6           This deposition is taking place            6         Q. And were you working at Rite Aid
    7      in Philadelphia, Pennsylvania in the            7   at that point?
    8      matter of National Opiate Litigation,           8         A. I was.
    9      MDL.                                            9         Q. And were you a fact witness
   10           Our deponent today is Janet               10   during that deposition?
   11      Getzey Hart. Counsel will be noted on          11         A. I was.
   12      the stenographic record.                       12         Q. What was the subject of your
   13           Our court reporter is Ann Marie           13   testimony for that deposition?
   14      Mitchell, who will now swear in the            14         A. That there was no collusion as
   15      witness.                                       15   far as not taking a third-party plan.
   16               - - -                                 16         Q. You also mentioned that you were
   17           JANET GETZEY HART, after having           17   deposed ten years ago.
   18      been duly sworn, was examined and              18             What was that in connection with?
   19      testified as follows:                          19         A. That was in connection with a
   20               - - -                                 20   doctor.
   21              EXAMINATION                            21         Q. Do you remember the doctor's
   22               - - -                                 22   name?
   23   BY MR. POWERS:                                    23         A. I do not.
   24      Q. Good morning.                               24         Q. When you say in connection with a
                                               Page 11                                                 Page 13
    1        A. Good morning.                              1   doctor, what do you mean?
    2        Q. My name is Will Powers and I               2        A. I believe there was an action
    3   represent the plaintiffs in this litigation.       3   against a doctor and I was deposed in that
    4            Can you please state your full            4   action.
    5   name and spell it for the record?                  5        Q. Why were you deposed?
    6        A. Sure. Janet Getzey Hart.                   6        A. Because I worked for Rite Aid and
    7   J-A-N-E-T, Getzey, G-E-T-Z-E-Y, last name Hart,    7   they had dispensed prescriptions for the doctor.
    8   H-A-R-T.                                           8             MS. McENROE: And, Janet, just
    9        Q. And we are here for your                   9        let him finish his questions before you
   10   deposition today.                                 10        answer.
   11            Do you understand that?                  11             THE WITNESS: Oh, okay.
   12        A. I do.                                     12             MS. McENROE: Take your time.
   13        Q. Have you ever been deposed                13             THE WITNESS: Sorry.
   14   before?                                           14   BY MR. POWERS:
   15        A. I have.                                   15        Q. Do you know where that doctor was
   16        Q. When was that?                            16   operating?
   17        A. 20 years ago.                             17        A. The deposition was in Harrisburg.
   18        Q. Was that the only time you've             18   That's all I remember.
   19   been deposed?                                     19        Q. You don't recall where the doctor
   20        A. I've been deposed twice.                  20   was actually writing the prescriptions from?
   21        Q. What was the other time you were          21        A. I do not.
   22   deposed?                                          22        Q. Do you know which Rite Aid stores
   23        A. Probably ten years ago.                   23   were dispensing those prescriptions?
   24        Q. And the first time you were               24        A. I do not.

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    1         Q. And your counsel just informed              1   would be in a courtroom?
    2   you about one of the rules today. I just want to     2        A. I do.
    3   go over a couple others.                             3        Q. So because you're under oath, if
    4             Is that all right?                         4   you lie or provide intentionally misleading
    5         A. Certainly.                                  5   answers, you may be subject to civil or criminal
    6         Q. Because the court reporter is               6   penalties.
    7   here writing down everything that we're saying,      7             Do you understand that?
    8   it's important that only one person is speaking      8             MS. McENROE: Objection to form.
    9   at a time. So as you've been going back and          9             THE WITNESS: I do.
   10   forth here, you obviously can anticipate some of    10   BY MR. POWERS:
   11   my questions, but I just ask you to allow me to     11        Q. And we can take breaks when you
   12   finish my question fully before you start your      12   need them, but you have to answer the question if
   13   answer.                                             13   there is one pending.
   14             Is that okay?                             14             Is that okay?
   15         A. Perfect.                                   15        A. That's fine.
   16         Q. And then likewise, I'll let you            16        Q. And as your counsel just did a
   17   finish your answer before I ask my questions.       17   minute ago, your counsel from time to time may
   18             Does that sound okay?                     18   object to my questions, but I'm still entitled to
   19         A. Perfect.                                   19   an answer unless your counsel specifically
   20         Q. And the other thing, too, is I             20   instructs you not to answer.
   21   need verbal answers. So no nods of the heads,       21             Do you understand that?
   22   uh-huhs, uh-uhs, things like that.                  22        A. I do.
   23             Does that make sense?                     23        Q. Did you prepare for this
   24         A. Yes.                                       24   deposition here today?
                                                 Page 15                                                  Page 17
    1         Q. And if for any reason you do not            1        A. I did.
    2   understand a question and require some               2        Q. How did you do that?
    3   clarification or explanation of the words I'm        3        A. I met with outside counsel to go
    4   using, you must tell me and we'll get that matter    4   over some documents and to discuss Rite Aid's
    5   resolved before you answer the question.             5   policies, procedures, things along those lines.
    6              Is that okay?                             6        Q. And when you say outside counsel,
    7         A. Yes.                                        7   you're referring to Morgan Lewis counsel?
    8         Q. So then if you answer any of my             8        A. I am.
    9   questions, I will assume that you understand it.     9        Q. When did you meet with Morgan
   10              Is that okay?                            10   Lewis counsel?
   11         A. Yes.                                       11        A. I have met with them various
   12         Q. Are you currently suffering from           12   times over the past several months.
   13   any medical disease or illness that in any way      13        Q. About how many times?
   14   interferes with your ability to answer truthfully   14        A. Perhaps six.
   15   and completely my questions here today?             15        Q. On average, how long were those
   16         A. No.                                        16   meetings you had with outside counsel?
   17         Q. Are you currently taking any               17        A. Some were three to four hours.
   18   medication or drugs that may in any way interfere   18   Some were a complete day.
   19   with your ability to answer truthfully and          19        Q. I want to start with your
   20   completely here today?                              20   educational background, Ms. Hart.
   21         A. No.                                        21             Actually, before I continue, is
   22         Q. And the court reporter just swore          22   it Ms. Hart or Ms. Getzey Hart?
   23   you in, so do you understand that the testimony     23        A. Ms. Hart is fine.
   24   you give here today is under oath, just as it       24        Q. Okay. Did you complete high

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    1   school?                                              1   as a pharmacist up to date and current between
    2        A. I did.                                       2   1984 and now?
    3        Q. Where did you complete high                  3         A. Yes.
    4   school?                                              4         Q. I believe you said you're
    5        A. Greater Johnstown Vocational and             5   registered in Pennsylvania. Right?
    6   Technical High School in Johnstown, Pennsylvania.    6         A. (Witness nods head.)
    7        Q. And what year did you graduate               7         Q. Are you registered as a
    8   from high school?                                    8   pharmacist in any other states?
    9        A. 1979.                                        9         A. New Jersey.
   10        Q. Just let me -- I know you can               10               MS. McENROE: Again, just a
   11   anticipate my question, but just can you please     11         reminder to respond verbally. So that
   12   let me finish my question --                        12         first answer had been yes.
   13        A. I'm sorry.                                  13               THE WITNESS: Okay.
   14        Q. -- and then you can answer the              14   BY MR. POWERS:
   15   question.                                           15         Q. So you're registered as a
   16             It's okay.                                16   pharmacist in Pennsylvania and New Jersey; is
   17             So just to be clear, what year            17   that correct?
   18   did you graduate high school?                       18         A. That is correct.
   19        A. 1979.                                       19         Q. Any other states?
   20        Q. Do you have any education beyond            20         A. No.
   21   high school?                                        21         Q. When did you first become
   22        A. I do.                                       22   registered as a pharmacist in New Jersey?
   23        Q. What is that education?                     23         A. Probably two years after
   24        A. It is a BS in pharmacy.                     24   Pennsylvania.
                                                 Page 19                                                Page 21
    1         Q. Where did you get your BS in                1        Q. And are you currently still
    2   pharmacy?                                            2   registered as a pharmacist in New Jersey?
    3         A. Duquesne University.                        3        A. I am.
    4         Q. And where is that located?                  4        Q. So from about 1986 to present,
    5         A. Pittsburgh, Pennsylvania.                   5   you were registered as a pharmacist in New
    6         Q. What year did you graduate                  6   Jersey; is that right?
    7   Duquesne University?                                 7        A. That sounds about right.
    8         A. 1984.                                       8        Q. No breaks for that registration?
    9         Q. Besides your college education,             9        A. No breaks.
   10   do you have any other educational background?       10        Q. After graduation from college in
   11         A. I do not.                                  11   1984, did you start working at Rite Aid at that
   12         Q. Do you have any certifications of          12   point?
   13   any kind?                                           13        A. I did.
   14         A. I am a pharmacist.                         14        Q. Are you still currently employed
   15         Q. What does that mean, that you're           15   by Rite Aid?
   16   a pharmacist?                                       16        A. I am.
   17         A. It means I'm registered with the           17        Q. Have you been employed by Rite
   18   state of Pennsylvania as a pharmacist.              18   Aid the entire time, from 1984 until present?
   19         Q. Is that registration current?              19        A. I have.
   20         A. Yes.                                       20        Q. When you started working at Rite
   21         Q. When did you get that? When did            21   Aid in 1984, what was your position?
   22   you first get that registration as a pharmacist?    22        A. I was a pharmacy intern.
   23         A. 1984.                                      23        Q. As a pharmacy intern, where did
   24         Q. Have you kept your registration            24   you work?
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    1        A. Johnstown, Pennsylvania.                    1        Q. Where was that location where
    2        Q. How long were you a pharmacy                2   you --
    3   intern for?                                         3        A. Johnstown.
    4        A. Approximately four months.                  4        Q. Sorry.
    5        Q. After your position as a pharmacy           5        A. Oh, I'm sorry.
    6   intern, what was your next title?                   6        Q. What was the location where you
    7        A. Pharmacist.                                 7   were a pharmacy manager?
    8        Q. Now, was that also located in               8        A. Johnstown.
    9   Johnstown, Pennsylvania?                            9        Q. Did you have any other
   10        A. It was.                                    10   responsibilities besides the profitability while
   11        Q. And when you say located in                11   you were a pharmacy manager?
   12   Johnstown, Pennsylvania, is that the Rite Aid      12        A. The responsibilities were to
   13   corporate offices?                                 13   dispense prescriptions, payroll, just running the
   14        A. It is not. It's a retail                   14   basic business of the pharmacy.
   15   pharmacy location.                                 15        Q. After your year as a pharmacy
   16        Q. Approximately how long were you a          16   manager, what was your next position at Rite Aid?
   17   pharmacist for at Rite Aid?                        17        A. I remained a pharmacist. But
   18             MS. McENROE: Objection to form.          18   then at that particular time, Rite Aid was
   19             THE WITNESS: At the Johnstown            19   purchasing some stores, another drugstore chain,
   20        store, about six months.                      20   Gray Drug. And so after that I went out of the
   21   BY MR. POWERS:                                     21   pharmacy and was a training pharmacist as new
   22        Q. Where did you go after that?               22   pharmacists were coming on board from the
   23        A. I became a floater pharmacist and          23   acquisition.
   24   worked at various Rite Aid pharmacy locations in   24        Q. So this would have been around
                                                Page 23                                                  Page 25
    1   the general area.                                   1   1987 that you became a training pharmacist?
    2        Q. You say -- when you say the                 2         A. That sounds correct.
    3   general area, what do you mean by that?             3         Q. How long did you hold the
    4        A. Around Johnstown.                           4   position as training pharmacist?
    5        Q. How long were you a floater                 5         A. Probably eight months.
    6   pharmacist for?                                     6         Q. And you said there was a
    7        A. Approximately two years.                    7   acquisition that Rite Aid made around that time.
    8        Q. So that would be about 1986 you             8   Correct?
    9   stopped being a floater pharmacist?                 9         A. Correct.
   10        A. That sounds correct.                       10         Q. And the name of the other
   11        Q. After a floater pharmacist, what           11   business that Rite Aid acquired was Gray Drug, do
   12   was your next position at Rite Aid?                12   I have that correct?
   13        A. I was a pharmacy manager.                  13         A. Gray Drug, yes.
   14        Q. How long were you a pharmacy               14         Q. So it was your job while you were
   15   manager for?                                       15   a training pharmacist to go around to the Gray
   16        A. Approximately one year.                    16   Drug locations and train them on Rite Aid
   17        Q. What were your job                         17   procedures.
   18   responsibilities as a pharmacy manager?            18             Do I have that correct?
   19        A. I was responsible for the                  19         A. Yes. On procedures and the
   20   profitability of that particular pharmacy.         20   computer system.
   21        Q. When you say that particular               21         Q. And was that also around the
   22   pharmacy, are you referring to a Rite Aid retail   22   Johnstown, Pennsylvania area?
   23   pharmacy location?                                 23         A. That was actually throughout the
   24        A. I am.                                      24   country.

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    1         Q. After your time as a training               1        Q. So that would have been around
    2   pharmacist, what was your next position at Rite      2   1992 to 1993. Right?
    3   Aid?                                                 3        A. Correct.
    4         A. I moved to Baltimore to become a            4        Q. What did you do as the director
    5   pharmacy manager.                                    5   of professional placement?
    6         Q. So that would have been around              6        A. I was responsible for going to
    7   1988 when you moved to Baltimore?                    7   schools of pharmacy and recruiting pharmacy
    8         A. That sounds correct.                        8   students to come to work for Rite Aid. And I was
    9         Q. And was that position as a                  9   responsible for putting together training
   10   pharmacy manager also for a retail location?        10   programs for the region.
   11         A. It was.                                    11        Q. When you say the region, what
   12         Q. Were your job responsibilities             12   region are you referring to?
   13   the same as your previous stint as a pharmacy       13        A. Baltimore metro market.
   14   manager in Johnstown, Pennsylvania?                 14        Q. After your year as the director
   15         A. They were.                                 15   of professional placement, what was your next
   16         Q. How long were you the pharmacy             16   position at Rite Aid?
   17   manager in Baltimore?                               17        A. Pharmacy division manager.
   18         A. Approximately two years.                   18        Q. How long were you a pharmacy
   19         Q. After being a pharmacy manager in          19   division manager for?
   20   Baltimore, what was your next job at Rite Aid?      20        A. Two years.
   21         A. I got promoted to be a pharmacy            21        Q. So that would be approximately
   22   district manager.                                   22   1993 through 1995?
   23         Q. And that would have been around            23        A. That is correct.
   24   1990?                                               24        Q. And what were your job
                                                 Page 27                                                  Page 29
    1         A. Yes.                                        1   responsibilities as a pharmacy division manager?
    2         Q. How long were you a pharmacy                2         A. Similar to the pharmacy manager
    3   district manager for?                                3   and the pharmacy district manager. I was
    4         A. Approximately two years.                    4   responsible for the profitability and operations
    5         Q. Was that also in Baltimore,                 5   of approximately 150 Rite Aid pharmacies in the
    6   Maryland?                                            6   Baltimore metro market.
    7         A. It was.                                     7         Q. After your time as the pharmacy
    8         Q. What were your responsibilities             8   division manager, what was your next position at
    9   as a pharmacy district manager?                      9   Rite Aid?
   10         A. Similar to that as a pharmacy              10         A. I moved -- I got promoted into
   11   manager, the pharmacy district manager was          11   the corporate office, and I became a manager of
   12   responsible for anywhere between 25 to 30 stores,   12   government affairs.
   13   as far as staffing, training, profitability.        13         Q. And that would have been around
   14         Q. And the 25 to 30 stores that you           14   1995?
   15   were responsible for, were those all in the         15         A. Correct.
   16   Maryland area?                                      16         Q. Now, when you say the corporate
   17         A. Yes.                                       17   office, are you referring to the Rite Aid offices
   18         Q. What was your next position after          18   in Camp Hill, Pennsylvania?
   19   pharmacy district manager?                          19         A. I am.
   20         A. Director of professional                   20         Q. Were you physically located
   21   placement.                                          21   starting in 1995 in the offices in Camp Hill,
   22         Q. How long were you the director of          22   Pennsylvania?
   23   professional placement?                             23         A. I believe I moved to Camp Hill in
   24         A. For approximately a year.                  24   1996.

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    1         Q. When you moved to Camp Hill, it             1   there was someone that needed to go before a
    2   was for the position that you just described, the    2   Senate committee or something like that, they
    3   manager of government affairs. Right?                3   would ask me to go and to provide testimony or to
    4         A. It was.                                     4   speak on behalf of Rite Aid. And so having done
    5         Q. What were your job                          5   that a number of times in my previous capacity,
    6   responsibilities as a manager of government          6   the opportunity came up for the additional
    7   affairs?                                             7   position in the Rite Aid corporate headquarters,
    8         A. I was responsible for varying --            8   so that's when they promoted me into that
    9   many times varying number of states to follow        9   position.
   10   regulatory and legislation concerning anything      10             And then after that, it was
   11   that would impact the Rite Aid book of business.    11   really hands-on training with the individuals at
   12   I was responsible for compliance with DEA rules     12   the corporate office.
   13   and regulations. And I was responsible for          13         Q. Who were some of the individuals
   14   prescription drug monitoring programs and           14   who you did the hands-on training with?
   15   submitting data to a limited number of programs     15         A. Mike Podgurski.
   16   that were there in 1995.                            16         Q. Anyone else?
   17         Q. How long were you the manager of           17         A. I'm trying to think who else was
   18   government affairs?                                 18   there at that time.
   19         A. From 1995 to 2006.                         19             It was pretty much Mike and --
   20         Q. In that time period from 1995 to           20   Mike and Jim.
   21   2006, who was your supervisor?                      21         Q. When you say Jim, that's James
   22         A. James Krahulec.                            22   Krahulec?
   23         Q. Can you spell that last name,              23         A. (Witness nods head.)
   24   please?                                             24             MS. McENROE: Is that a yes?
                                                 Page 31                                                  Page 33
    1         A. K-R-A-H-U-L-E-C.                            1              THE WITNESS: Yes.
    2         Q. Was there anyone else in the                2              MR. POWERS: Sorry. Yeah, thank
    3   government affairs division at Rite Aid during       3         you.
    4   that time period, 1995 to 2006?                      4   BY MR. POWERS:
    5         A. Can you repeat the question?                5         Q. And what was Mike Podgurski's
    6         Q. Sure.                                       6   title?
    7              Was anyone else in the government         7         A. I don't know what his title was
    8   affairs division, let's say, of Rite Aid between     8   at that time. He's had a lot of titles, I don't
    9   that period, 1995 to 2006?                           9   know what it was specifically at that time.
   10         A. We had like an administrative              10         Q. We've been talking about the
   11   staff, but during that time it was Mr. Krahulec     11   government affairs division.
   12   and myself.                                         12              What division did Mike Podgurski
   13         Q. Who was the administrative staff?          13   work in?
   14         A. Deb Hurley.                                14         A. More pharmacy ops.
   15         Q. Can you spell the last name?               15         Q. And I'm using the word
   16         A. H-U-R-L-E-Y.                               16   "division."
   17         Q. How did you train for your job as          17              Is that the correct term or
   18   manager of government affairs?                      18   department or is there a better term in how Rite
   19         A. Well, in my capacity as the                19   Aid describes the organizational structure?
   20   pharmacy regional person in Baltimore, I had the    20         A. It's government affairs
   21   opportunity at that time to go and testify in       21   department. It's very small.
   22   Annapolis, meet with legislators. Mr. Krahulec      22         Q. Okay. So it's department, I
   23   obviously was only one person and couldn't be at    23   guess?
   24   that time in approximately 15 states. And so if     24         A. Yeah.

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    1         Q. Okay. How does the government            1        Q. You also mentioned before that
    2   affairs department fit into the larger            2   you gave testimony, I believe you said, to
    3   organizational structure of the Rite Aid          3   governmental organizations; is that correct?
    4   corporate office?                                 4        A. That is correct.
    5              MS. McENROE: Objection to form.        5        Q. What test -- can you give me some
    6              THE WITNESS: We monitor                6   examples of the testimony that you gave?
    7         legislation and then provide updates to     7        A. Certainly. There were pieces of
    8         the corporate departments that are          8   legislation to -- where there was going to be a
    9         involved. If it's a tax issue, we would     9   reimbursement cut to Medicaid where the
   10         forward the legislation to the tax         10   dispensing fee was going to be reduced. And we
   11         department. If it was a pharmacy issue,    11   obviously, from a business perspective, we did
   12         we would forward it to the pharmacy        12   not want that to occur, so we would testify in
   13         department. We also had control or         13   order to maintain the dispensing fee.
   14         looked over DEA rules and regulations.     14        Q. Did you give testimony to state
   15         And if there was a question concerning,    15   government agencies?
   16         you know, a DEA rule or regulations,       16        A. I did.
   17         pharmacy operations or the other           17        Q. What were the state government
   18         departments would come and ask us          18   agencies that you testified to?
   19         questions or ask us to investigate and     19        A. I've testified before the
   20         provide an answer back to them.            20   Maryland General Assembly, or a subcommittee of
   21   BY MR. POWERS:                                   21   the assembly.
   22         Q. For DEA issues, you mentioned the       22        Q. Anywhere else besides the
   23   pharmacy departments.                            23   Maryland General Assembly?
   24              Any other departments you worked      24        A. The Pennsylvania General
                                               Page 35                                                Page 37
    1   with on DEA issues?                               1   Assembly.
    2         A. Logistics.                               2        Q. Anywhere else?
    3         Q. And who did you work with in the         3        A. Maine.
    4   logistics department?                             4        Q. Anywhere else?
    5         A. I don't remember who was in              5        A. Vermont.
    6   logistics back then.                              6        Q. Anywhere else?
    7         Q. Besides logistics and pharmacy,          7        A. Those are the ones that I can
    8   any other departments you worked with on DEA      8   recall.
    9   issues for your time period '95 through 2006?     9        Q. Did you ever testify about DEA
   10         A. I think that's it.                      10   compliance issues before any of the state bodies
   11         Q. Anyone else besides the pharmacy        11   that you just named?
   12   department, besides Mike Podgurski that you      12             MS. McENROE: Objection to form.
   13   worked with?                                     13             THE WITNESS: For the time period
   14         A. There were various individuals in       14        when I was a manager of government
   15   the various -- in that department that I would   15        affairs, not that I remember.
   16   work with.                                       16   BY MR. POWERS:
   17         Q. Can you name the ones you               17        Q. Did you ever testify before
   18   remember?                                        18   federal agencies during the time period of 1995
   19         A. Sure. Scott Jacobson.                   19   through 2006?
   20         Q. Do you remember Scott Jacobson's        20        A. I did not.
   21   title?                                           21        Q. Have you ever testified before
   22         A. VP pharmacy operations.                 22   federal agencies during your entire time at Rite
   23         Q. Anyone else?                            23   Aid?
   24         A. Not at this time.                       24        A. I believe no.

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    1        Q. And to be clear, when I say                  1         Q. How about Chris Belli, does that
    2   federal agencies, I'm also including legislative     2   name sound familiar to you?
    3   bodies.                                              3         A. Yes.
    4             Is that okay?                              4         Q. Is that one of the people you've
    5        A. That's fine.                                 5   been working with in the logistics department?
    6        Q. Does that change your answer?                6         A. Yes.
    7        A. No.                                          7         Q. And are those people, Chris Belli
    8        Q. What is the government affairs               8   and Kevin Mitchell, the people you're referring
    9   department relationship with the distribution        9   to when you say the person in charge of the DEA
   10   centers?                                            10   coordinators at the logistics department?
   11             MS. McENROE: Objection to form.           11         A. Yes.
   12             THE WITNESS: We work together.            12         Q. So after 2006, you ceased -- your
   13   BY MR. POWERS:                                      13   title ceased to be manager of government affairs.
   14        Q. Do the distribution centers                 14   Correct?
   15   report to the government affairs office?            15         A. Correct.
   16        A. They do not.                                16         Q. What did your title become at
   17        Q. Was there a typical contact                 17   that point?
   18   person at each distribution center that you would   18         A. Director, government affairs. I
   19   work with?                                          19   got a promotion.
   20        A. There were contact individuals at           20         Q. Is that your current title,
   21   the distribution centers.                           21   director of government affairs?
   22        Q. Did those contact individuals               22         A. It is.
   23   have a particular title at the distribution         23         Q. Have you held the position of
   24   centers?                                            24   director of government affairs continuously from
                                                 Page 39                                                  Page 41
    1         A. DEA coordinator.                            1   2006 until the present?
    2         Q. So is it fair to say then the               2         A. I have.
    3   government affairs office would interact with the    3         Q. What happened to James Krahulec
    4   DEA coordinators at each individual distribution     4   when you became the director of government
    5   center?                                              5   affairs?
    6         A. I myself would interact more with           6         A. James Krahulec passed away in
    7   the person that was in charge of the DEA             7   2006 or so. And Mike Podgurski moved in to
    8   coordinators at the corporate office.                8   government affairs. So from when I was a
    9         Q. Who was the person in charge of             9   director of government affairs, Mike Podgurski
   10   the DEA coordinators at the corporate office?       10   then became my boss.
   11         A. There was a director of                    11         Q. Did that move of Mike Podgurski
   12   logistics, regulatory, something along that title   12   to becoming your boss happen at the same time you
   13   line. I don't know the official title.              13   became director of government affairs?
   14         Q. Would that be the logistics -- in          14         A. Close to the same time frame,
   15   the logistics department that you talked about      15   yes.
   16   earlier?                                            16         Q. Who else was in your department
   17         A. Yes.                                       17   when you became the director of government
   18         Q. Does the name Kevin Mitchell ring          18   affairs?
   19   a bell for you?                                     19         A. There would have been an
   20         A. Yes.                                       20   individual, Michael Yount.
   21         Q. Is that one of the people that             21         Q. How do you spell that last name?
   22   you would have been working with in the logistics   22         A. Y-O-U-N-T.
   23   department?                                         23         Q. When did Mr. Yount start in the
   24         A. Yes.                                       24   government affairs department?

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    1        A. I don't remember.                            1         Q. Who else worked in the government
    2        Q. Was it around the time you became            2   affairs office between 1995 and the present?
    3   the director of government affairs?                  3         A. Amy Knisely.
    4        A. I believe it was prior to that               4         Q. Anyone else?
    5   point.                                               5         A. Sarah Everingham, Andrea Bucher.
    6        Q. So Michael Yount was part of the             6         Q. Anyone else?
    7   government affairs department before you became      7         A. Derrick Ridley.
    8   director of government affairs?                      8         Q. How do you spell that last name?
    9        A. Yes.                                         9         A. R-I-D-L-E-Y.
   10        Q. How long did Michael Yount work             10         Q. Anyone else?
   11   in the government affairs office?                   11         A. Sarah Hilbolt.
   12        A. I don't recall.                             12         Q. How do you spell that last name?
   13        Q. Does he still work in the                   13         A. H-I-L-B-O-L-T.
   14   government affairs office?                          14         Q. Anyone else?
   15        A. He does not.                                15         A. In government affairs was Grace
   16        Q. Do you know when he left?                   16   Schuyler.
   17        A. I don't remember.                           17         Q. Anyone else?
   18        Q. Was it more or less than ten                18         A. Jermaine Smith.
   19   years ago when Michael Yount left?                  19         Q. And when I say anyone else, feel
   20        A. It was more than ten years ago              20   free to name more than one person at a time.
   21   that he left.                                       21         A. Okay.
   22        Q. How come you did not mention                22         Q. Anyone else besides who you've
   23   Michael Yount before when I asked you who else      23   mentioned so far?
   24   worked in the government affairs office while you   24         A. I'm thinking.
                                                 Page 43                                                 Page 45
    1   were the manager of government affairs?              1              Yong Choe.
    2              MS. McENROE: Objection to form.           2              Those are to the best of my
    3              THE WITNESS: I just completely            3   knowledge.
    4         forgot about Michael.                          4         Q. I believe you testified earlier
    5   BY MR. POWERS:                                       5   that in -- from 1995 to 2006, the only people in
    6         Q. Besides Michael Yount, anyone               6   the government affairs office were yourself,
    7   else work in the government affairs office           7   James Krahulec, and for some period of that time
    8   between '95 and present?                             8   Michael Yount. Right?
    9         A. Not that I remember.                        9         A. And Deb Hurley.
   10         Q. Did Amy Knisely ever work in the           10         Q. How come the government affairs
   11   government affairs department?                      11   office got so much bigger after 2006?
   12         A. Amy Knisely did, yes.                      12              MS. McENROE: Objection, form.
   13         Q. How come you didn't mention her            13              THE WITNESS: There was the
   14   when I asked who else worked in the government      14         addition of additional people because the
   15   affairs department just now?                        15         responsibilities were expanding.
   16         A. You didn't specify a time frame.           16   BY MR. POWERS:
   17   We were discussing until -- we were discussing      17         Q. Why do you say the
   18   the 2006. And Amy Knisely wasn't in the             18   responsibilities were expanding?
   19   government affairs department in 2006.              19         A. Prior to 2006, there were a very
   20         Q. My question was -- I'm reading             20   limited number of state prescription monitoring
   21   off the transcript here, besides Michael Yount,     21   programs. And more states kept coming onboard
   22   anyone else work in the government affairs office   22   with prescription monitoring programs. So there
   23   between 1995 and the present?                       23   was more data submission to those programs. And
   24         A. Oh, okay. Yes.                             24   then error corrections, when there would be an

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    1   error that was sent to the program. And that was    1   affairs department. Right?
    2   taking up increasing amounts of time.               2         A. Yes.
    3             There was also additional                 3         Q. Is that a separate department
    4   heightened awareness around DEA rules and           4   from government affairs?
    5   regulations. Legislation was getting more           5         A. Yes.
    6   involved.                                           6         Q. Did you ever work with other
    7        Q. During that period after 2006,              7   people from the regulatory affairs department
    8   who in the government affairs office had            8   while you were the director of government
    9   responsibility in any shape or form for dealing     9   affairs?
   10   with the DEA rules and regulations?                10         A. Yes.
   11             MS. McENROE: Objection to form.          11         Q. Who else from regulatory affairs
   12             THE WITNESS: That would be               12   did you interact with?
   13        myself.                                       13         A. Zach Hicks.
   14   BY MR. POWERS:                                     14         Q. Can you spell that?
   15        Q. Anyone else?                               15         A. H-I-C-K-S.
   16        A. Yes.                                       16         Q. Anyone else?
   17             May I make an addition to an             17         A. Greg Mills. That's it.
   18   individual in government affairs?                  18         Q. Do you know who the director of
   19        Q. Sure.                                      19   the regulatory affairs office was during this
   20        A. I don't believe I mentioned                20   time period, starting in 2006?
   21   Andrea Bucher.                                     21         A. There was no regulatory affairs
   22        Q. Okay. Anyone else besides                  22   department in 2006. I think why there's some
   23   yourself in the government affairs office that     23   confusion here is what happened was government
   24   dealt with DEA's rules and regulations?            24   affairs split off from regulatory affairs
                                                Page 47                                                  Page 49
    1         A. Since then?                                1   approximately two years ago. And so that's why
    2         Q. Since 2006.                                2   there's some confusion as far as the individuals
    3         A. Amanda Glover.                             3   and where they worked, because what happened is,
    4         Q. Was she also in the government             4   even though I still maintained the title of
    5   affairs office?                                     5   government affairs, I'm in regulatory affairs.
    6         A. She is in regulatory affairs, but          6   So that may be adding to the confusion.
    7   she dealt with DEA.                                 7         Q. Okay. Just so I have this
    8         Q. Anyone else besides Amanda                 8   correctly here, the department was the department
    9   Glover?                                             9   of government affairs from 1995 up until about
   10         A. Mike Podgurski.                           10   2017?
   11         Q. But he's not in government                11         A. There still is a department of
   12   affairs. Right?                                    12   government legislative and regulatory, but --
   13         A. No. Mike was in government                13   from following that. But there's a regulatory --
   14   affairs.                                           14   department of reg -- a department of regulatory
   15         Q. Oh, okay.                                 15   affairs as well. So you still -- you have two
   16         A. He was in operations prior to             16   now.
   17   2006.                                              17         Q. Okay. So from 1995 until
   18             Grace Schuyler.                          18   current, there was a department of government and
   19         Q. Anybody else?                             19   regulatory affairs. Right?
   20         A. Not that I remember at this time.         20         A. (Witness nods head.)
   21         Q. And you mentioned, was it Amanda          21             Yes.
   22   Glover?                                            22         Q. And then approximately two years
   23         A. Yes.                                      23   ago, around 2017, there's a separate department
   24         Q. That she was in the regulatory            24   named regulatory affairs?

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    1         A. Correct.                                    1   charge of legislative and regulatory for?
    2         Q. Okay. Why was the regulatory                2         A. Maryland and Delaware.
    3   affairs department created in 2017?                  3         Q. When you say in charge of
    4         A. There was heightened awareness on           4   legislative and regulatory, what do you mean by
    5   many regulatory affairs issues, such as DEA,         5   that?
    6   HIPAA, and so the decision was made to create a      6         A. I mean follow any legislation
    7   department.                                          7   that impacts Rite Aid's book of business and then
    8         Q. Who was the person in charge of             8   provide that information to the various
    9   the regulatory affairs office starting in 2017?      9   departments that would be impacted by the
   10         A. Amanda Glover.                             10   legislation or the regulation, work with groups
   11         Q. And she would have been                    11   to put forth a response to the legislation,
   12   previously employed in the government affairs and   12   provide comments, anything that needed to be done
   13   regulatory affairs department prior to 2017; is     13   related to those issues.
   14   that right?                                         14         Q. And you also mentioned that you
   15         A. She was not.                               15   had responsibility for prescription monitoring
   16         Q. Do you know where she was before?          16   programs.
   17         A. Pharmacy operations, I believe.            17             Can you explain that?
   18         Q. How did your job responsibilities          18         A. Certainly. In each state that
   19   as the director of government affairs change when   19   Rite Aid does business, we're required by law to
   20   the new regulatory affairs department was           20   report any controlled substance data for
   21   created?                                            21   prescriptions that we dispense to the state. In
   22         A. I had less responsibilities for            22   each state, we send the data on a daily basis.
   23   state legislative and regulatory following          23   And then what happens is we get errors back,
   24   legislation than I had previously. I had bumped     24   where the stores will say put a symbol in the
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    1   up and down between the number of states that I      1   name. They'll say -- it's a K9 and they put
    2   covered. And I went down to two states to cover      2   parentheses around the K9, so that comes back as
    3   because of the other increasing responsibilities.    3   an error. And then we're responsible for
    4         Q. What were your increasing                   4   correcting that and sending it back to the
    5   responsibilities?                                    5   prescription monitoring program.
    6         A. DEA compliance, prescription                6              We need to stay up on all of the
    7   monitoring program compliance.                       7   different formats and all of the different
    8         Q. You started talking a little bit            8   standards related to the prescription monitoring
    9   about it there, but as the director of government    9   program so that we stay in compliance, because
   10   affairs between 2006 and 2017, what were your job   10   there are significant fines associated with it if
   11   responsibilities?                                   11   we're not in compliance.
   12         A. Similar to my responsibilities as          12        Q. Are you talking about the
   13   manager of government affairs.                      13   prescription monitoring programs, are those
   14         Q. Can you explain what you mean by           14   particular prescription monitoring programs in
   15   that?                                               15   each state?
   16         A. Sure. I did the same thing,                16        A. Yes, they're in each state.
   17   pretty much. I was in charge of DEA compliance      17        Q. And the prescription monitoring
   18   as far as providing information, questions to the   18   programs, are they different in each state?
   19   various departments throughout the company. I       19        A. They are.
   20   was responsible for prescription monitoring         20        Q. Do the prescription monitoring
   21   programs. And I was responsible for legislative     21   programs have anything to do with Rite Aid's role
   22   and regulatory for two states. At present, I'm      22   as a distributor of controlled substances?
   23   down to one state.                                  23              MS. McENROE: Objection, form.
   24         Q. What two states were you in                24              THE WITNESS: There are certain

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    1         states that require distributor data to        1   VP of operations or the VP of logistics, was that
    2         be sent to them.                               2   just communicate via email?
    3   BY MR. POWERS:                                       3         A. Email typically, yes. And then
    4         Q. You also mentioned that as                  4   typically what would happen is they would read it
    5   director of government affairs that you were in      5   and call me back and then we'd start a
    6   charge of DEA compliance.                            6   discussion.
    7              Can you explain what you mean by          7         Q. We've been talking about new
    8   that?                                                8   rules and regulations.
    9         A. Certainly. If there was a DEA               9              How do you communicate
   10   question or a new DEA rule or regulation that       10   long-standing rules and regulations regarding DEA
   11   came up, it's my job to communicate that to store   11   compliance?
   12   operations; to logistics, if it involves            12              MS. McENROE: Objection to form.
   13   transporting drugs; to provide, you know,           13              THE WITNESS: We do that in a
   14   guidance into policies and procedures as far as     14         number of ways. We have DEA reminder
   15   compliance with DEA rules and regulations.          15         messages that we send to all of our
   16         Q. You said it's your job to                  16         stores on a weekly basis. Those messages
   17   communicate the DEA compliance issues.              17         include compliance with CSA and the CFR,
   18              How would you communicate to the         18         where they are how to execute an order
   19   other Rite Aid employees?                           19         form, things along those lines.
   20         A. If there was a proposed piece of           20   BY MR. POWERS:
   21   legislation, I would either forward an email to     21         Q. How are those DEA reminder
   22   the individuals that are in the correct             22   messages sent to the stores?
   23   department. We could possibly have a discussion     23         A. They are sent in what we call a
   24   about the proposed regulation to determine how it   24   management planner.
                                                 Page 55                                                  Page 57
    1   would impact the Rite Aid book of business.          1        Q. What is a management planner?
    2         Q. So besides emailing the                     2        A. It's a weekly message board that
    3   appropriate people and having discussions, did       3   goes out to all of our pharmacies.
    4   you do anything else to communicate new rules and    4        Q. Is this an electronic system?
    5   regulations?                                         5        A. Yes.
    6         A. I mean, we might have a meeting,            6        Q. Who would have access to that
    7   a meeting as such to discuss it and determine        7   electronic system?
    8   what our action plan would be.                       8        A. The pharmacist, our field
    9             And then we could -- we would              9   management, people in corporate.
   10   have an email communication as far as rolling it    10        Q. You've been talking about
   11   out to the stores and what we were going to         11   communicating with the stores.
   12   communicate to stores to do to be compliant. So     12             How about DEA policies and
   13   that was all a part of the process.                 13   procedures related to distribution, how did you
   14         Q. Was there any standard procedure           14   communicate those?
   15   about how to communicate a new DEA rule or          15        A. DEA with -- for distribution,
   16   regulation?                                         16   would go to the VP of logistics. And then
   17         A. The standard procedure for myself          17   they're individuals during that time period that
   18   is to communicate it to our VP of pharmacy          18   we mentioned, Kevin Mitchell, Chris Belli,
   19   operations. If it was logistics, the VP of          19   communication would go to them if there was
   20   logistics. Anybody that was involved in that        20   something impacting the distribution centers.
   21   particular matter would be communicated on so       21        Q. And those communications would
   22   that they were aware of pending or then passed      22   also be just via email?
   23   legislation.                                        23        A. Typically, yes.
   24         Q. When you say communicated to the           24        Q. Any other ways besides email?

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    1         A. Normal communications. Their                1        Q. Who?
    2   offices are not too -- their office was not too      2        A. Amanda Glover.
    3   far from mine, so we would have conversations.       3        Q. Anyone else?
    4         Q. You mean just like walk down to             4        A. Mike Podgurski, Zach Hicks, Greg
    5   their office?                                        5   Mills.
    6         A. Yep.                                        6        Q. Anyone else?
    7         Q. How did you communicate existing            7        A. Scott Jacobson.
    8   or long-standing DEA regulations regarding           8        Q. Did you ever consult anyone
    9   distribution of controlled substances?               9   outside of Rite Aid when you were formulating
   10             MS. McENROE: Objection to form.           10   guidance on DEA regulations?
   11             THE WITNESS: I didn't                     11        A. Occasionally.
   12         communicate to the distribution centers.      12        Q. Who?
   13         That responsibility would have been on        13        A. We had outside counsel at one
   14         Chris or Kevin Mitchell, depending on the     14   point, Hyman, Phelps & McNamara.
   15         time. But I was not directly                  15        Q. When was that, when you had
   16         communicating to the distribution             16   Hyman, Phelps & McNamara help you with
   17         centers.                                      17   formulating DEA guidance?
   18   BY MR. POWERS:                                      18        A. 2010 and back.
   19         Q. How did you communicate existing           19        Q. You say and back, do you mean
   20   DEA rules and regulations to either Chris Belli     20   before 2010?
   21   or Kevin Mitchell?                                  21        A. Yes, yes. And that could give or
   22         A. I don't know that I did that on a          22   take. That was just pretty much when we stopped
   23   routine basis. I believe they were very well        23   communicating. But we still sent communications
   24   versed in existing DEA rules and regulations.       24   to them, but not like asking questions or
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    1         Q. You also mentioned that it was              1   whatever.
    2   your job to formulate guidance as to the policies    2        Q. Do you know approximately when
    3   and procedures regarding DEA compliance; is that     3   you started using Hyman, Phelps & McNamara for
    4   right?                                               4   guidance -- excuse me, to formulate guidance on
    5         A. That is correct.                            5   DEA regulations?
    6         Q. How did you formulate the                   6        A. I don't remember.
    7   guidance?                                            7        Q. Can you give me an approximate
    8         A. I would look at a regulation                8   date?
    9   and/or a proposed rule and say, how would this       9        A. At least 2000.
   10   impact Rite Aid. And then if there was a certain    10        Q. And who would you talk to at
   11   action plan that I thought would work as far as     11   Hyman, Phelps & McNamara about DEA regulations?
   12   rolling out the guidance, then I would put a        12        A. Karla Palmer.
   13   communication together and say, hello, this is      13        Q. Anyone else?
   14   the new DEA regulation and this is how I feel we    14        A. Larry Houck.
   15   should do something with it.                        15        Q. Can you spell that last name?
   16         Q. What did you rely on when you              16        A. H-O-U-C-K.
   17   were formulating the guidance?                      17        Q. Anyone else besides Karla Palmer
   18         A. The -- what had been proposed or           18   and Larry Houck?
   19   what had come out, the industry information that    19        A. John Gilbert.
   20   it was out there, and my own knowledge.             20        Q. Anyone else?
   21         Q. Did you ever consult anyone else           21        A. Those were the three main
   22   within Rite Aid about formulating guidance          22   individuals.
   23   regarding DEA regulations?                          23        Q. How did you communicate with
   24         A. Certainly.                                 24   Hyman, Phelps & McNamara?

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    1        A. Either email or a phone call.                    1         about an hour anyway.
    2        Q. And you mentioned there was some                 2              MR. POWERS: Sure. That's fine.
    3   communication with Hyman, Phelps & McNamara after        3              THE VIDEOGRAPHER: Going off the
    4   2010. Right?                                             4         record at 10:30 a.m.
    5        A. There is, yes.                                   5                  - - -
    6        Q. What was the nature of that                      6              (A recess was taken from
    7   communication after 2010?                                7         10:30 a.m. to 10:44 a.m.)
    8             MS. McENROE: Objection, calls                  8                  - - -
    9        for privileged information. I instruct              9              THE VIDEOGRAPHER: We're back on
   10        the witness not to answer.                         10         the record at 10:44 a.m.
   11             Do you have a more specific                   11   BY MR. POWERS:
   12        question not seeking privileged                    12         Q. Welcome back, Ms. Hart.
   13        information? The word "nature" is not              13              Before we took the break, we were
   14        specific to not seek privileged                    14   talking about a settlement agreement that Rite
   15        communications.                                    15   Aid had had.
   16   BY MR. POWERS:                                          16              Can you explain what that
   17        Q. After 2010, how did your -- or                  17   settlement agreement was?
   18   how did Rite Aid's relationship with Hyman,             18         A. Rite Aid entered into a
   19   Phelps & McNamara change?                               19   settlement agreement with the Drug Enforcement
   20        A. I would occasionally call them to               20   Administration in 2009.
   21   ask them a question. I also communicate with            21         Q. What was the nature of that
   22   Karla Palmer in the instance where there is a           22   settlement?
   23   prescriber --                                           23              MS. McENROE: Objection to form.
   24             MS. McENROE: Hold on -- nothing               24              THE WITNESS: There are alleged
                                                      Page 63                                               Page 65
    1         substantive. So just in terms of the               1        recordkeeping violations, alleged missing
    2         nuts and bolts. That's it.                         2        drugs.
    3             THE WITNESS: Okay. So I would                  3   BY MR. POWERS:
    4         send email communications to them or call          4        Q. Did you have any involvement in
    5         them.                                              5   the discussions that led to that settlement
    6   BY MR. POWERS:                                           6   agreement?
    7         Q. I'm just trying to understand why               7        A. I did.
    8   you gave 2010 as the end date for your                   8        Q. What was the nature of your
    9   relationship with Hyman, Phelps & McNamara.              9   involvement?
   10             How come you used 2010 as the                 10             MS. McENROE: Objection to form.
   11   date that you ended the relationship, but it            11             Also, just careful caution
   12   seems like you communicate after 2010 with Hyman,       12        here -- and I know it originally came up
   13   Phelps?                                                 13        in the context of privileged information
   14         A. They were primarily our counsel                14        and communication with counsel.
   15   prior to that time. And then at that point we           15             I caution you not to discuss
   16   had a settlement agreement and they worked us           16        anything you discussed with counsel or
   17   through the settlement agreement. And then our          17        you learned from counsel.
   18   counsel went to another firm.                           18             THE WITNESS: Okay.
   19         Q. What was the firm after Hyman,                 19             For the settlement agreement, I
   20   Phelps & McNamara?                                      20        had obtained documents, looked at the
   21         A. Morgan Lewis.                                  21        records based on the allegations of the
   22             THE WITNESS: May we take a                    22        Drug Enforcement Administration and
   23         break?                                            23        reviewed the documents to determine if
   24             MS. McENROE: Yeah. It's been                  24        the allegations were correct or not. I

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    1         visited various stores to look for           1         computer-based training. We enhanced our
    2         records. I met with various AUSAs to         2         DEA store checklist.
    3         provide records with outside counsel.        3   BY MR. POWERS:
    4   BY MR. POWERS:                                     4         Q. Anything else?
    5         Q. Was there anything else in the            5         A. There could be more, I just don't
    6   settlement agreement beyond recordkeeping          6   remember.
    7   violations?                                        7         Q. As a result of the 2009
    8              MS. McENROE: Objection to form.         8   settlement, did Rite Aid make any changes with
    9              THE WITNESS: There were                 9   regards to its operations as a controlled
   10         allegations of medications lost or          10   substance distributor?
   11         medications that weren't accounted for.     11             MS. McENROE: Objection to form.
   12         That was the other part of my               12             THE WITNESS: We did not. The
   13         recollection of it.                         13         Rite Aid distribution center was not
   14   BY MR. POWERS:                                    14         involved in the settlement agreement.
   15         Q. Anything else?                           15   BY MR. POWERS:
   16              MS. McENROE: Objection to form.        16         Q. I think you mentioned -- you
   17              THE WITNESS: There could be            17   referred to it as a counting on a quarterly basis
   18         more, I just don't remember.                18   of hydrocodone.
   19   BY MR. POWERS:                                    19             What does that mean?
   20         Q. Did the settlement agreement have        20         A. That means that every quarter
   21   any allegations regarding Rite Aid knowingly      21   Rite Aid would count the hydrocodone that we had
   22   filling prescriptions for controlled substances   22   on our shelves and balance it to make sure that
   23   that were not issued for legitimate medical       23   the inventory was correct.
   24   purposes?                                         24         Q. When you say on the shelves, you
                                               Page 67                                                  Page 69
    1              MS. McENROE: Objection to form.         1   mean on the shelves at the individual pharmacies?
    2              THE WITNESS: It did.                    2         A. In the stores, yes.
    3   BY MR. POWERS:                                     3         Q. What is the DEA computer-based
    4         Q. In your role as the director of           4   training that you referred to earlier?
    5   the government affairs office in 2009, did you     5         A. It is training for pharmacists
    6   make any changes as a result of that 2009          6   to -- in all aspects of DEA guidance related to
    7   settlement with the Department of Justice?         7   222 Forms, everything that -- what to look for
    8              MS. McENROE: Objection to form.         8   for a prescription. Everything that would be
    9              THE WITNESS: Rite Aid had been          9   required.
   10         making changes up to the settlement         10         Q. And that DEA computer-based
   11         agreement. Part of the settlement           11   training, was that only for the individual Rite
   12         agreement was counting of hydrocodone and   12   Aid stores?
   13         acetaminophen on a quarterly basis. We      13              MS. McENROE: Object to the form.
   14         implemented the MethCheck system in our     14              THE WITNESS: It was.
   15         stores.                                     15   BY MR. POWERS:
   16              But prior to the 2009 settlement,      16         Q. So we were talking earlier about
   17         we had put in a comprehensive program.      17   resources outside of Rite Aid that you used in
   18         And that program continues to evolve.       18   your position in government affairs to formulate
   19   BY MR. POWERS:                                    19   guidance on DEA regulations. Right?
   20         Q. Let me specify my question.              20         A. Correct.
   21              As a direct result of the 2009         21         Q. And you mentioned outside
   22   settlement, what changes were made at Rite Aid?   22   counsel, which we've talked about.
   23              MS. McENROE: Objection to form.        23              Is there anyone else outside of
   24              THE WITNESS: We updated our DEA        24   Rite Aid that you used to formulate guidance

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    1   about DEA regulations?                              1         centers as far as their compliance. So
    2        A. I would utilize trade groups.               2         we did an overall view of our entire
    3        Q. Which trade groups?                         3         processes.
    4        A. The National Association of Chain           4   BY MR. POWERS:
    5   Drug Stores, the individual state associations,     5         Q. When you say "we" in your
    6   Maryland Association of Chain Drug Stores. There    6   previous answer, who are you referring to?
    7   are retail groups or -- in each of the states       7         A. Jim Krahulec, myself, pharmacy
    8   that would work on legislation or regulation and    8   operations.
    9   formulate information in how it should be rolled    9         Q. Who from pharmacy operations?
   10   out.                                               10         A. It would have been Scott Jacobson
   11        Q. Besides those trade groups you             11   or Mike Podgurski.
   12   just mentioned, anything else? Any other parties   12         Q. How did you do your review of the
   13   or organizations outside of Rite Aid that you      13   policies and procedures that were in place?
   14   used to formulate guidance about controlled        14         A. We looked at issues that had come
   15   substances in Rite Aid?                            15   in from various state inspection notices. If
   16        A. The National Association of                16   there was a recordkeeping allegation from a state
   17   Boards of Pharmacy.                                17   board of pharmacy, we looked at those and
   18        Q. Did you ever consult guidance              18   determined what some of the more prevalent ones
   19   from the Healthcare Distributors Alliance, the     19   were, ones that we were seeing at that point.
   20   HDA?                                               20   And then we developed different tools that our
   21        A. Never.                                     21   pharmacists could use to organize recordkeeping
   22        Q. How about the HDMA, I believe is           22   and maintain proper compliance.
   23   the prior name?                                    23         Q. You also said you looked at the
   24        A. No.                                        24   organization in your stores, what did you mean by
                                                Page 71                                                  Page 73
    1         Q. So besides outside counsel and             1   that?
    2   the trade groups you mentioned, did you rely on     2         A. What we were finding was that one
    3   any other outside individuals or groups to help     3   store would keep invoices in one location in one
    4   you formulate guidance about the rules and          4   drawer and the other store would keep them in the
    5   regulations surrounding controlled substances?      5   back room with other documentation. And it was
    6         A. Not that I can recall.                     6   not -- there was not consistency throughout. So
    7         Q. To be clear, this is for the               7   at that point then, we developed a DEA
    8   entire time that you were working in the            8   recordkeeping box that we sent to the store on a
    9   government affairs office between 1995 and 2006?    9   yearly basis where there are specific folders for
   10         A. Yes.                                      10   all of the required DEA documents. So that in
   11         Q. And your answer is the same?              11   every store, all the documents are in one place
   12         A. Yes.                                      12   and can be located.
   13         Q. When you started in the                   13         Q. Is that a physical box you --
   14   government affairs office in 1995, what efforts    14         A. It's a physical box, yes.
   15   did you make to make sure that Rite Aid was in     15         Q. You also said that you looked at
   16   compliance with the current and existing           16   the distribution centers as far as their
   17   regulations regarding controlled substances at     17   compliance.
   18   that point?                                        18              What do you mean by that?
   19              MS. McENROE: Objection to form.         19         A. I mean, we looked at the
   20              You may respond.                        20   distribution centers from the standpoint of was
   21              THE WITNESS: We reviewed the            21   the cage secure, were there good security
   22         policies and procedures that were in         22   policies and procedures in place. Were there
   23         place. We looked at organization in our      23   criminal background checks. Was the alarm system
   24         stores. We looked at distribution            24   working. Were the SOPs correct.

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    1        Q. How did you determine whether the            1   consulted about the policies and procedures
    2   SOPs were correct?                                   2   regarding the distribution of controlled
    3        A. I got together with logistics,               3   substances?
    4   and we had a discussion and went through that,       4         A. Back in the -- when I first came,
    5   through the SOPs.                                    5   1995, Jim Krahulec was well versed. And he was
    6        Q. And logistics, that would have               6   my mentor, so I learned a lot from him as well.
    7   been Chris Belli or Kevin Mitchell?                  7         Q. Did you ever update your
    8        A. Yes.                                         8   understanding of what was required under the
    9        Q. Did you do a periodic review of              9   Controlled Substances Act or other regulations
   10   the SOPs for the distribution centers?              10   regarding controlled substances?
   11        A. I did not. They were done by our            11             MS. McENROE: Objection to form.
   12   IA team, internal assurance team, and by the        12             THE WITNESS: Can you repeat the
   13   logistics Chris Belli/Kevin Mitchell team.          13         question?
   14        Q. And, sorry, we've been saying               14   BY MR. POWERS:
   15   SOPs. We should be clear for the record.            15         Q. Sure.
   16             We're talking about standard              16             Besides when you started in the
   17   operating procedures?                               17   government affairs office in 1995, what other
   18        A. Correct.                                    18   actions did you take to familiarize yourself with
   19        Q. Before you reviewed the company's           19   the rules and regulations regarding the
   20   SOPs for compliance, how did you familiarize        20   distribution of controlled substances?
   21   yourself with what was required from a compliance   21         A. I would attend various
   22   perspective?                                        22   conferences throughout the country to attain
   23             MS. McENROE: Objection to form.           23   knowledge.
   24             THE WITNESS: I was pretty                 24         Q. Besides the conferences, what
                                                 Page 75                                                  Page 77
    1        familiar in my role as the PDM, pharmacy        1   else did you do to familiarize yourself with the
    2        district manager, in my role as the             2   rules and regulations surrounding the
    3        pharmacy division manager with compliance       3   distribution of controlled substances?
    4        with DEA rules and regulations. From the        4         A. That was pretty much it.
    5        standpoint of, that was -- at that point,       5         Q. Did you do any periodic review of
    6        you were also responsible for that in the       6   the Rite Aid policies and procedures regarding
    7        stores.                                         7   distribution during your time in the government
    8             From the distribution side, it             8   affairs office?
    9        was sort of a read and learn and                9         A. I may have. That responsibility
   10        understand the rules and regulations.          10   to put those into the distribution center rested
   11   BY MR. POWERS:                                      11   with Chris and Kevin to work with the SOPs. That
   12        Q. So you just read the rules                  12   was their primary responsibility.
   13   yourself regarding the rules and regulations        13         Q. So it's your testimony that the
   14   about dispensing controlled substances; is that     14   logistics department was primarily responsible
   15   right?                                              15   for the Rite Aid policies regarding compliance
   16        A. Or I'd interact with the industry           16   with the rules and regulations about the
   17   leaders to have discussions about what they were    17   distribution of controlled substances; is that
   18   doing, the different best practices that were out   18   right?
   19   there.                                              19              MS. McENROE: Objection.
   20        Q. Who were the industry leaders you           20              THE WITNESS: They were the
   21   interacted with?                                    21         experts of logistics and what went on at
   22        A. People at NACDS, people at the              22         the distribution centers. So, yes, they
   23   Maryland Association of Chain Drug Stores.          23         were responsible for the SOPs. I myself
   24        Q. Anyone else at Rite Aid that you            24         would coordinate with them to review the

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    1         SOPs and determine if they were correct.      1              MS. McENROE: Objection to form.
    2   BY MR. POWERS:                                      2              THE WITNESS: I do not.
    3         Q. In determining whether those SOPs          3   BY MR. POWERS:
    4   were correct, what did you rely on?                 4         Q. During your time in the
    5         A. DEA rule and regulation, various           5   government affairs office, did you implement any
    6   industry resources.                                 6   new procedures or policies regarding the
    7         Q. Did anyone else at Rite Aid help           7   distribution of controlled substances by Rite
    8   you determine whether those regulations were        8   Aid?
    9   correct?                                            9              MS. McENROE: Objection.
   10         A. Mr. Krahulec in the beginning.            10              THE WITNESS: I myself did not
   11   And then once I had a better knowledge base,       11         implement any policies and procedures for
   12   primarily myself.                                  12         the distribution of controlled
   13         Q. And you mentioned that you went           13         substances. The logistics team may have
   14   to some conferences about the rules and            14         done that, something I was not aware of.
   15   regulations regarding controlled substance         15         But I myself did not implement any.
   16   distribution.                                      16   BY MR. POWERS:
   17             What were those conferences?             17         Q. Do you know if the logistics team
   18         A. I went to a DEA conference, a             18   implemented any new policies or procedures
   19   pharmacy diversion awareness conference where      19   regarding the distribution of controlled
   20   that was discussed.                                20   substances during your time in the government
   21             So various DEA conferences.              21   affairs office?
   22         Q. When you say DEA conferences, are         22              MS. McENROE: Objection.
   23   you talking about conferences put on by the DEA?   23              THE WITNESS: I believe they did.
   24         A. Yes.                                      24   BY MR. POWERS:
                                                Page 79                                                  Page 81
    1        Q. And you also mentioned a                    1        Q. What were those procedures, new
    2   diversion awareness conference.                     2   procedures and policies?
    3             What was that?                            3        A. A lot around implementing
    4        A. That was the DEA also.                      4   upgraded camera systems, upgrading cages,
    5        Q. Do you remember how many DEA                5   upgrading picking directions.
    6   conferences you actually attended?                  6        Q. Anything else?
    7        A. From 1995 to present?                       7        A. Those are the ones that come to
    8        Q. Yes.                                        8   mind.
    9        A. 12, 15.                                     9        Q. When you say "upgrading picking
   10        Q. And before you started working in          10   directions," what do you mean by that?
   11   the government affairs office, do you know how     11        A. There were various pick machines
   12   Rite Aid ensured compliance with the rules and     12   that were in the distribution center. And in
   13   regulations regarding the distribution of          13   order to be -- have orders more accurate, they
   14   controlled substances?                             14   would develop upgrades to those machines so that
   15             MS. McENROE: Objection to form.          15   the actual people that pick the product in the DC
   16             THE WITNESS: Could you state             16   had a much easier job.
   17        that again?                                   17        Q. And you said it was possible that
   18   BY MR. POWERS:                                     18   the logistics department implemented policies and
   19        Q. Sure.                                      19   procedures for the distribution centers that you
   20             Before you started working in the        20   were not aware of; is that right?
   21   government affairs office, do you know how Rite    21        A. That is correct.
   22   Aid ensured compliance with the rules and          22        Q. Did the logistics department have
   23   regulations regarding the distribution of          23   to get your approval or -- let me phrase that a
   24   controlled substances?                             24   different way.

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    1              Did the logistics department have         1   office?
    2   to get government affairs department approval        2              MS. McENROE: Objection to form.
    3   before implementing a new policy or procedure at     3              THE WITNESS: I read the SOPs and
    4   the distribution centers?                            4         reviewed the policies and procedures and
    5              MS. McENROE: Objection to form.           5         became aware of the different aspects of
    6              THE WITNESS: Typically they               6         the suspicious order monitoring program.
    7         would get approval, yes.                       7   BY MR. POWERS:
    8   BY MR. POWERS:                                       8         Q. Did the suspicious order
    9         Q. Was it required?                            9   monitoring program change at all between when you
   10              MS. McENROE: Objection to form.          10   first became aware of it and when Rite Aid
   11              THE WITNESS: I don't know that           11   stopped distributing controlled substances?
   12         it was required. That was just our            12              MS. McENROE: Objection to form.
   13         process.                                      13              THE WITNESS: It did change.
   14   BY MR. POWERS:                                      14   BY MR. POWERS:
   15         Q. And Rite Aid distributed                   15         Q. How did it change?
   16   controlled substances up until late 2014.           16         A. We added another -- a component
   17   Correct?                                            17   of -- we had an asset protection that would
   18         A. That's correct.                            18   monitor part of our suspicious order monitoring
   19         Q. And the products that Rite Aid             19   program. And we upgraded and updated asset
   20   distributed included hydrocodone combination        20   protection monitoring of our -- portion of our
   21   products. Right?                                    21   suspicious order monitoring program.
   22         A. That is correct.                           22         Q. When did that happen?
   23         Q. When Rite Aid was distributing             23         A. I would say around 2010.
   24   controlled substances -- actually, let me back up   24         Q. And what was the nature of that

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    1   a second here.                                       1   upgrade?
    2             When we're talking about Rite              2         A. We got a new computer system that
    3   Aid's distribution, can we agree that we're just     3   asset protection used to -- for the detection of
    4   talking about the time period up until late 2014     4   theft and diversion called NaviScript/NaviCase.
    5   when Rite Aid was distributing controlled            5   And that particular system had a series of key
    6   substances?                                          6   performance indicators that were monitored by
    7         A. Yes.                                        7   asset protection. Those key performance
    8         Q. Okay. When Rite Aid was                     8   indicators were previously monitored by another
    9   distributing controlled substances, did Rite Aid     9   system, but this was just an upgraded system.
   10   have a suspicious order monitoring program?         10         Q. What was the previous system that
   11         A. We did.                                    11   monitored the KPIs?
   12         Q. When has that suspicious order             12         A. That was an internal system in
   13   monitoring program been in place since?             13   asset protection. I don't know the name of it.
   14         A. The suspicious order monitoring            14         Q. And the NaviCase/NaviScript
   15   program has been in place since 1995, when --       15   system you just talked about, that was to monitor
   16   that I became aware of it. It could have been in    16   theft of controlled substances. Right?
   17   place prior to that, but...                         17              MS. McENROE: Objection, form.
   18         Q. To the best of your knowledge,             18              THE WITNESS: That was to monitor
   19   the suspicious order monitoring program was in      19         theft, but the other key performance
   20   place from 19 -- at least 1995 until 2014?          20         indicators also monitored ordering, cycle
   21         A. Yes.                                       21         counts. There were 90 KPIs.
   22         Q. How did you familiarize yourself           22   BY MR. POWERS:
   23   with the suspicious order monitoring program when   23         Q. What do you mean by cycle counts?
   24   you first started in the government affairs         24         A. A cycle count is when a

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    1   pharmacist in a store goes into the system and       1              MS. McENROE: Objection to form.
    2   says that we have -- they have 96 tablets on the     2              THE WITNESS: That was one of the
    3   shelf. And what happens is the system says           3         components.
    4   they're supposed to have 100. And they count         4              Oops, sorry.
    5   down to 96 and say, okay, I now have 96 instead      5   BY MR. POWERS:
    6   of the 100.                                          6         Q. And the thresholds were set at
    7         Q. Did the NaviScript/NaviCase                 7   5,000 dosage units, 5,000 dosage units for each
    8   system keep track of the inventory at the            8   national drug code. Right?
    9   distribution centers?                                9              MS. McENROE: Objection to form.
   10             MS. McENROE: Objection to form.           10              THE WITNESS: 5,000 dosage units
   11             THE WITNESS: Can you phrase the           11         per each NDC per order.
   12         question differently?                         12   BY MR. POWERS:
   13   BY MR. POWERS:                                      13         Q. Per order.
   14         Q. It sounds to me like you were              14              And when you say "per order,"
   15   talking about the NaviScript/NaviCase system with   15   that's per order by each individual pharmacy.
   16   regards to the individual stores. Right?            16   Right?
   17         A. Yes.                                       17         A. Yes.
   18         Q. Did the NaviScript/NaviCase                18         Q. And you said the thresholds was
   19   system have any functionality with regards to the   19   one component of the suspicious order monitoring
   20   distribution centers?                               20   system.
   21             MS. McENROE: Objection to form.           21              What were the other components?
   22             THE WITNESS: The Navi system              22         A. Another component was our
   23         from a distribution standpoint, it did        23   ordering process and an algorithm that was
   24         not maintain inventory, but it maintained     24   established by Rite Aid to submit orders to the
                                                 Page 87                                                 Page 89
    1         order data from the distribution center        1   distribution center from our corporate office,
    2         to the stores.                                 2   based on an individual store's movement.
    3   BY MR. POWERS:                                       3         Q. The ordering process you're
    4         Q. So the Navi -- you said the Navi            4   talking about there, is that the auto
    5   system could see what was being sent from the        5   replenishment system?
    6   distribution center to the individual stores; is     6         A. It is.
    7   that right?                                          7         Q. So the auto replenishment system
    8         A. Yes.                                        8   is part of your suspicious order monitoring
    9         Q. Do you know who designed Rite               9   program?
   10   Aid's suspicious order monitoring system            10         A. It is.
   11   originally?                                         11         Q. How long has the auto
   12         A. I do not.                                  12   replenishment system been in place for?
   13         Q. Did you personally make any                13         A. As far back as I know, as I can
   14   changes to the Rite Aid suspicious order            14   recall.
   15   monitoring program?                                 15         Q. Even as your time as a
   16              MS. McENROE: Objection to form.          16   pharmacist?
   17              THE WITNESS: I don't recall              17         A. I don't know that.
   18         making any changes. From my perspective,      18         Q. But --
   19         again, I may have reviewed some changes       19         A. Definitely since 1995.
   20         that logistics were doing, but I myself,      20         Q. How is the auto replenishment
   21         I don't recall making any changes.            21   system used in the Rite Aid suspicious order
   22   BY MR. POWERS:                                      22   monitoring system?
   23         Q. That suspicious order monitoring           23              MS. McENROE: Objection to form.
   24   system that Rite Aid had used thresholds. Right?    24              THE WITNESS: It is utilized to

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    1        generate an order for an individual            1        Q. How does the auto replenishment
    2        store.                                         2   system identify, report or not ship suspicious
    3             From the suspicious order                 3   orders?
    4        monitoring process, we know our stores'        4              MS. McENROE: Objection to form.
    5        volume, we know our stores' dispensing,        5              THE WITNESS: The auto
    6        and we're able to take             worth of    6        replenishment system does not generate a
    7        that dispensing data, place an order so        7        suspicious order.
    8        that there's the correct amount on hand,       8   BY MR. POWERS:
    9        put a slight override into that and            9        Q. It is impossible for the auto
   10        place -- provide that to our stores to        10   replenishment system to generate a suspicious
   11        place an order.                               11   order; is that right?
   12             An order cannot go over that             12              MS. McENROE: Objection to form.
   13        algorithm coming out of -- from the --        13              THE WITNESS: Based on the
   14        from the order going to the distribution      14        algorithm and what is built into it,
   15        center.                                       15        there's not a suspicious order that's
   16   BY MR. POWERS:                                     16        generated by the order system.
   17        Q. How is the limit of the -- just            17   BY MR. POWERS:
   18   the auto replenishment system different than the   18        Q. My question, though, is, is it
   19   threshold limit?                                   19   impossible for the auto replenishment system to
   20             MS. McENROE: Objection to form.          20   generate a suspicious order?
   21             THE WITNESS: The automated               21              MS. McENROE: Objection to form,
   22        system is different in that it generates      22        asked and answered.
   23        an order based on that store's need.          23              THE WITNESS: Could you ask the
   24             When you get to the threshold of         24        question again?
                                                Page 91                                                    Page 93
    1         the 5,000 dosage units, that threshold        1   BY MR. POWERS:
    2         was established as another parameter as       2         Q. Sure.
    3         part of the process. So it is quite           3             Is it impossible for the Rite Aid
    4         possible that an order could be placed        4   auto replenishment system to generate a
    5         that met the algorithm that was for 5,100     5   suspicious order?
    6         tablets to be ordered and the threshold       6             MS. McENROE: Objection to form.
    7         system then at that point in time would       7             THE WITNESS: Yes.
    8         kick in and drop that down to 5,000           8   BY MR. POWERS:
    9         tablets.                                      9         Q. The auto replenishment system you
   10   BY MR. POWERS:                                     10   said was based on the need of the individual
   11         Q. But the 5,000 dosage unit                 11   pharmacy. Right?
   12   threshold, that's not in any electronic form, is   12         A. Correct.
   13   it?                                                13         Q. What do you mean when you say by
   14         A. The 5,000 threshold is based on           14   need?
   15   the pickers at the distribution center.            15         A. Based on what is needed to
   16         Q. So the auto replenishment system          16   service our patient base, based on that store's
   17   could generate an order that was above the 5,000   17   previous movement of a particular product.
   18   unit thresholds. Right?                            18             So you would have a drug. We
   19         A. That is correct.                          19   would look at that drug and look at
   20         Q. And it would then fall on the             20   worth of data. Look at the highest week of that
   21   responsibility of the individuals in the           21              worth of data and determine a percentage
   22   distribution center to then enforce that 5,000     22   above the highest order that the store could
   23   dosage unit threshold. Right?                      23   generate. That would go through the system and
   24         A. That is correct.                          24   be -- then would go to the store to be reviewed.

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    1         Q. And the data you're talking                 1   the prescription to make sure that it is for a
    2   about, that is dispensing data. Right?               2   valid medical reason.
    3         A. Dispensing data.                            3         Q. What are the various elements of
    4         Q. And the dispensing data is simply           4   the prescription to make sure that it is valid --
    5   the amount of product that was sold at that          5   to make sure that it is valid for a medical
    6   particular Rite Aid location. Right?                 6   reason?
    7              MS. McENROE: Objection to form.           7         A. You need to know the patient,
    8              THE WITNESS: The amount of                8   does the pharmacist know the patient. You need
    9         product that was dispensed to our              9   to know the prescriber, is the prescriber known
   10         patients, yes.                                10   to the patient. You would look at, as far as a
   11   BY MR. POWERS:                                      11   red flag, what is the distance between the
   12         Q. So the auto replenishment system           12   patient and the prescriber.
   13   doesn't look at who is writing the prescriptions    13             You would look at the original
   14   for those patients?                                 14   hard copy prescription that's presented to you to
   15              MS. McENROE: Objection to form.          15   determine, does it look like it's a forgery. Is
   16              THE WITNESS: It does not.                16   there watermarks on it or something that would
   17   BY MR. POWERS:                                      17   identify it as a fraudulent prescription.
   18         Q. It doesn't look at the amount of           18             You would look at the particular
   19   controlled substances as opposed to the amount of   19   type of prescription and prescriber to make sure
   20   noncontrolled substances at that Rite Aid           20   that it was a proper prescription. Then you
   21   location. Right?                                    21   could -- and if all of those were met, then at
   22              MS. McENROE: Objection to form.          22   that point the pharmacist would make the decision
   23              THE WITNESS: It does not, but            23   to dispense the prescription.
   24         the asset protection KPIs would look at       24         Q. How about payment in cash, was
                                                 Page 95                                                     Page 97
    1         that.                                          1   that a red flag of diversion?
    2   BY MR. POWERS:                                       2         A. It could be.
    3         Q. The auto replenishment system               3         Q. Does the auto replenishment
    4   doesn't do anything to determine the medical need    4   system look at any of the red flags of diversion
    5   for the individual patients, does it?                5   you just discussed in your previous answer?
    6              MS. McENROE: Object to form.              6             MS. McENROE: Objection to form.
    7              THE WITNESS: It does not.                 7             THE WITNESS: It does not.
    8              Sorry.                                    8   BY MR. POWERS:
    9   BY MR. POWERS:                                       9         Q. So if those red flags of
   10         Q. Have you ever heard of the term            10   diversion that we just talked about were
   11   "red flags of diversion"?                           11   occurring, forged prescriptions, paying in cash,
   12              MS. McENROE: Objection to form.          12   things like that, the auto replenishment system
   13              THE WITNESS: I've heard of the           13   would not have any way of detecting that. Right?
   14         term "red flags."                             14             MS. McENROE: Objection to form.
   15   BY MR. POWERS:                                      15             THE WITNESS: It would not.
   16         Q. What is your understanding of the          16   BY MR. POWERS:
   17   term "red flags"?                                   17         Q. You also talked about the auto
   18         A. Red flags is when dispensing a             18   replenishment system relying on              of data.
   19   controlled substance prescription, a pharmacist     19             Is that just the dispensing data?
   20   has a corresponding responsibility to make sure     20         A. Yes.
   21   that the prescription is dispensed for a valid      21         Q. And that's just purely the volume
   22   medical need in the course of the usual practice    22   of product dispensed. Right?
   23   of the prescription. The pharmacist is to review    23             MS. McENROE: Objection to form.
   24   the prescription and look at various elements of    24             THE WITNESS: Yes. Dispensed to

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    1         the patient.
    2   BY MR. POWERS:
    3         Q. The 5,000 dosage unit threshold
    4   that the distribution center -- well, let me back
    5   up there.
    6              The 5,000 dosage unit threshold
    7   was used by the distribution centers; right?
    8         A. That is correct.
    9         Q. And that 5,000 dosage unit
   10   threshold was the same for every distribution
   11   center?
   12         A. It was.
   13         Q. And it was -- that 5,000 dosage
   14   unit threshold was the same for every store that
   15   the distribution centers distributed to.
   16   Correct?
   17              MS. McENROE: Objection to form.
   18              THE WITNESS: It was.
   19   BY MR. POWERS:
   20         Q. Were there any exceptions to that
   21   5,000 dosage unit threshold?
   22         A. There were exceptions.
   23         Q. So besides some of the stores
   24   with exceptions, there was a generic threshold
                                                 Page 99                  Page 101
    1   limit for all Rite Aid stores?
    2             MS. McENROE: Objection to form.
    3             THE WITNESS: Yes. 5,000 per
    4        NDC.
    5                  - - -
    6             (Deposition Exhibit No. Rite
    7        Aid-Hart-1, Distribution/Customer Support
    8        Center, DEA Regulatory Guidelines,
    9        Policy, Bates stamped
   10        Rite_Aid_OMDL_0046157 through
   11        Rite_Aid_OMDL_0046226, was marked for
   12        identification.)
   13                  - - -
   14   BY MR. POWERS:
   15        Q. I'm going to hand what's been
   16   marked as Rite Aid-Hart Exhibit 1. It's a
   17   document, somewhat lengthy, but I'm going to
   18   direct your attention to a particular page in it.
   19   The Bates number on the document is
   20   Rite_Aid_OMDL_0046157 through 46226.




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                                                        1   or procedures about how the distribution center
                                                        2   was supposed to determine whether an order was
                                                        3   suspicious?
                                                        4             MS. McENROE: Objection to form.
                                                        5             THE WITNESS: There are policies
                                                        6         and procedures to determine a suspicious
                                                        7         order, yes.
                                                        8   BY MR. POWERS:
                                                        9         Q. You were talking about the
                                                       10   distribution center looking at the history of the
                                                       11   order.
                                                       12         A. Uh-huh.
                                                       13         Q. Was there any guidance given to
                                                       14   the distribution centers to determine what would
                                                       15   be used to determine, regarding order history,
                                                       16   what was suspicious?
                                                       17             MS. McENROE: Objection, form.
                                                       18             THE WITNESS: Can you repeat the
                                                       19         question?
                                                       20   BY MR. POWERS:
                                                       21         Q. Sure.
                                                       22             You said the distribution center
                                                       23   employees knew the stores they were picking for.
                                                       24   Right?
                                            Page 111                                                Page 113
    1        A. I do.                                   1        A. Correct.
    2        Q. Is the distribution center the          2        Q. And they gained that knowledge
    3   one who is determining whether the order is     3   through picking for those stores periodically
    4   suspicious or not?                              4   during their jobs. Right?
    5             MS. McENROE: Objection to form.       5             MS. McENROE: Objection to form.
    6             THE WITNESS: They are.                6             THE WITNESS: Correct. They pick
    7   BY MR. POWERS:                                  7        a store once a week.
    8        Q. How do they determine whether the       8   BY MR. POWERS:
    9   order is suspicious or not?                     9        Q. So besides just being the one who
   10             MS. McENROE: Objection, form.        10   picks that store every week, was there any way --
   11             THE WITNESS: They would look at      11   any other way that the distribution center
   12        the quantity of the order. They would     12   employees were supposed to determine whether or
   13        look at the -- at the distribution        13   not an order was suspicious?
   14        center, they know the previous store's    14             MS. McENROE: Objection to form.
   15        history from picking the order every      15             THE WITNESS: To the best of my
   16        week. They may see a store that has       16        knowledge, no.
   17        ordered five of a particular item. And    17   BY MR. POWERS:
   18        then one week off, there could be 15      18        Q. And in paragraph 4 here, it says,
   19        ordered. So at that point they would      19   "Any order which is determined to be suspicious
   20        say, this store always gets five. Let's   20   will be immediately reported to the corporate
   21        call the store and determine if they      21   office."
   22        really wanted 15.                         22             Who at the corporate office would
   23   BY MR. POWERS:                                 23   the suspicious orders be reported to?
   24        Q. Were there any written policies        24        A. That would be me.

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    1         Q. Were any suspicious orders ever             1   factors based on?
    2   reported to you at the corporate office?             2        A. Based on my knowledge of the
    3         A. There were none reported to me.             3   industry, based on my years of experience having
    4         Q. And to be clear, you never                  4   dealt with the DEA for a period of -- for a long
    5   received a report of a suspicious order your         5   period of time, and knowing how to review a store
    6   entire time working in the corporate office from     6   as far as its book of business, going way back to
    7   1995 through 2018. Correct?                          7   even my days as the pharmacy district manager in
    8         A. I did not.                                  8   the Baltimore market.
    9         Q. Going down to paragraph 5, it               9        Q. But to be clear, you never had to
   10   says, if a suspicious order is reported to          10   make the decision whether to ship or not ship
   11   corporate, the corporate government affairs will    11   because you never received any report of a
   12   determine whether to "ship" or "do not ship."       12   suspicious order. Right?
   13              Do you see that?                         13        A. That is correct.
   14         A. I do.                                      14        Q. And going down to paragraph 6, it
   15         Q. And this is the same corporate             15   says, "All discussions, investigations and
   16   office that we just referred to, the government     16   reports will be maintained in the file designated
   17   affairs office. Right?                              17   'Suspicious Orders.'"
   18         A. That is correct.                           18              Do you see that?
   19         Q. So that would be you?                      19        A. I do.
   20         A. That would be me.                          20        Q. Am I correct to assume that there
   21         Q. How would you make the                     21   was no file designated suspicious orders because
   22   determination of whether to ship or not ship?       22   there were no suspicious orders?
   23         A. There would be a number of                 23        A. You are correct.
   24   factors that would come into play. The very         24        Q. Who would keep that file, if
                                                Page 115                                                 Page 117
    1   first factor that I would look at is if it was an    1   there was one?
    2   auto ship order, that it came through the            2         A. Our office would maintain a file.
    3   algorithm and that was what the algorithm            3   And there would be a file maintained at the
    4   provided. That would be a key one.                   4   individual distribution center.
    5              A second one would be to look at          5         Q. How did you ensure that the
    6   the size of the order, to determine if the           6   policy we just talked about in Exhibit 1
    7   unusual size of it was due to something at the       7   reflected on page 46179 was followed at the
    8   pharmacy that was placing the order, if there was    8   distribution centers?
    9   something unusual happening at that pharmacy.        9              MS. McENROE: Objection to form.
   10         Q. Anything else you would look at?           10              THE WITNESS: The distribution
   11         A. That would be it.                          11         center has constant monitoring. They
   12         Q. Was there any written policy or            12         have audits completed by our internal
   13   procedure about how to make that decision about     13         audit group and by asset protection, and
   14   whether to ship or not ship?                        14         by logistics and transportation, where
   15         A. To the best of my knowledge, no.           15         there are individual groups that go into
   16         Q. So the factors you just testified          16         each of the distribution centers once a
   17   about that you would use to determine whether to    17         year on behalf of Rite Aid and have a
   18   ship or not ship, those were just ones that you     18         checklist of compliance to review at the
   19   yourself personally came up with. Right?            19         distribution centers.
   20         A. Yes.                                       20              So there is a review done to make
   21              MS. McENROE: Objection to form.          21         sure that the processes are being
   22              THE WITNESS: Sorry.                      22         followed related to suspicious orders,
   23   BY MR. POWERS:                                      23         security. All of the policies and
   24         Q. What were those based on, those            24         procedures are reviewed and there is a

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                                                     Page 118                                             Page 120
    1         specific checklist completed.                        1               - - -
    2   BY MR. POWERS:                                             2          (Deposition Exhibit No. Rite
    3         Q. Did you personally have any                       3      Aid-Hart-2, Rite Aid Distribution Center
    4   responsibility for ensuring compliance with the            4      DEA Regulatory Guidelines,
    5   excessive or suspicious order monitoring                   5      Rite_Aid_OMDL_0014804 through
    6   procedure?                                                 6      Rite_Aid_OMDL_0014874, was marked for
    7              MS. McENROE: Objection to form.                 7      identification.)
    8              THE WITNESS: Those particular                   8               - - -
    9         checklists were, again, completed by                 9          THE WITNESS: Thank you.
   10         logistics.                                          10   BY MR. POWERS:
   11   BY MR. POWERS:
   12         Q. But my question is, did you have
   13   any personal responsibility for ensuring the
   14   distribution center compliance with the excessive
   15   order monitoring or suspicious order monitoring
   16   procedure?
   17              MS. McENROE: Objection to form.
   18              THE WITNESS: I had
   19         responsibility for reviewing the policies
   20         and procedures and the checklists and
   21         that, but the sole responsibility as far
   22         as like the monitoring and if there was
   23         something that needed to be corrected or
   24         something along those lines, that would
                                                       Page 119                                           Page 121
    1         rest with logistics.
    2              MS. McENROE: Hey, Will, we've
    3         been going about an hour. When you find
    4         a good time for a break, that would be
    5         appreciated.
    6              MR. POWERS: Yeah, we can take a
    7         break now. That's fine.
    8              MS. McENROE: Great. Thank you.
    9              THE VIDEOGRAPHER: Going off the
   10         record at 11:41 a m.
   11                  - - -
   12              (A recess was taken from
   13         11:41 a m. to 11:58 a m.)
   14                  - - -
   15              THE VIDEOGRAPHER: We're back on
   16         the record at 11:58 a.m.
   17   BY MR. POWERS:
   18         Q. Welcome back, Ms. Hart. I'm
   19   going to hand you what's been marked as Rite
   20   Aid-Hart Exhibit 2. It's, once again, a large
   21   document, but I'm only going to talk to you about
   22   one page. It is Bates number
   23   Rite_Aid_OMDL_0014804 through 14873. Take a look
   24   at that.

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                                               8           Q.   You can put those exhibits to the
                                               9   side.
                                              10             I'm going to hand you what's been
                                              11   marked as Hart Exhibit 3. The Bates number on
                                              12   this exhibit is Rite_Aid_OMDL_0015079 through
                                              13   15081.
                                              14                  - - -
                                              15             (Deposition Exhibit No. Rite
                                              16         Aid-Hart-3, Controlled Drug Above Average
                                              17         Order Monitoring Program, Bates stamped
                                              18         Rite_Aid_OMDL_0015079 through
                                              19         Rite_Aid_OMDL_0015081, was marked for
                                              20         identification.)
                                              21                  - - -
                                              22   BY MR. POWERS:
                                              23         Q. Take a look at that.
                                              24         A. (Reviewing document.)
                                   Page 123                                                   Page 125




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                                               4                 - - -
                                               5             (Deposition Exhibit No. Rite
                                               6        Aid-Hart-4, Pharmacy Replenishment System
                                               7        Store Order History, Bates stamped
                                               8        Rite_Aid_OMDL_0015302 through
                                               9        Rite_Aid_OMDL_0015307, was marked for
                                              10        identification.)
                                              11                 - - -
                                              12   BY MR. POWERS:
                                              13        Q. I'm going to hand you what's been
                                              14   marked as Hart Exhibit 4. It is a document that
                                              15   is Bates labeled Rite_Aid_OMDL_0015302 through
                                              16   15307. Take a look at that.
                                              17        A. Thank you.
                                              18             MS. McENROE: Just for the
                                              19        record, Will, so that I'm not confusing
                                              20        myself, I agree the Bates range goes that
                                              21        direction.
                                              22             Do you know how this was produced
                                              23        together with an email behind a document?
                                              24             MR. POWERS: I believe this Bates

                                   Page 139                                              Page 141
                                               1      range was identified by Rite Aid in its
                                               2      interrogatory responses in this
                                               3      particular order and range.
                                               4           MS. McENROE: Got it. Okay.
                                               5           THE WITNESS: (Reviewing
                                               6      document.)
                                               7   BY MR. POWERS:




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    2           MS. McENROE: Will, before we
    3      move on, if it's a good time for lunch at
    4      some point soon, if you'll let us know.
    5           MR. POWERS: Yeah. Are you okay
    6      to do one more document and then we can
    7      break for lunch?
    8           THE WITNESS: Sure.
    9           MR. POWERS: Okay. Actually, you
   10      know what, let's just take a break now
   11      for lunch. That's fine.
   12           MS. McENROE: Great.
   13           THE VIDEOGRAPHER: Going off the
   14      record at 12:38 p.m.
   15               - - -
   16           (A luncheon recess was taken from
   17      12:38 p.m. to 1:30 p.m.)
   18               - - -
   19           THE VIDEOGRAPHER: Back on the
   20      record at 1:30 p.m.
   21   BY MR. POWERS:
   22      Q. Welcome back, Ms. Hart.
   23      A. Thank you.
   24      Q. You understand that you're still
                                            Page 155                      Page 157
    1   under oath. Right?
    2       A. I do.




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                                              12       Q. I'm going to hand you what's been
                                              13   marked as Hart Exhibit 5.
                                              14               - - -
                                              15           (Deposition Exhibit No. Rite
                                              16       Aid-Hart-5, Excel Spreadsheet Printout,
                                              17       Bates stamped Rite_Aid_OMDL_0013151, was
                                              18       marked for identification.)
                                              19               - - -
                                              20           THE WITNESS: Thank you.
                                              21   BY MR. POWERS:
                                              22       Q. It's, once again, a multiple-page
                                              23   document. And it --
                                              24           MS. McENROE: Will, do you have

                                   Page 159                                            Page 161
                                               1       the Bates range for this? And can you
                                               2       represent it's a complete document?
                                               3            MR. POWERS: That's a good
                                               4       question.
                                               5            I can grab the Bates number
                                               6       range.
                                               7            I believe it's a native Excel
                                               8       sheet, so --
                                               9            MS. McENROE: And this is the
                                              10       full printout of the full thing?
                                              11            MR. POWERS: Yes.
                                              12            The Bates number on the document
                                              13       is Rite_Aid_OMDL_0013151.
                                              14            MS. McENROE: Thank you.
                                              15            And are these different workbooks
                                              16       from the Excel spreadsheet? Because I'm
                                              17       having a hard time. It kind of looked
                                              18       like the columns are cut off.
                                              19            MR. POWERS: I believe there are
                                              20       different tabs in the spreadsheet.
                                              21            MS. McENROE: Okay.
                                              22            MR. POWERS: And I'll say right
                                              23       now, I'm not going to get too much into
                                              24       the substance of it, so I don't think

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                                              Page 162                    Page 164
    1          that will matter about the different
    2          cutoffs and things.
    3               THE WITNESS: (Reviewing
    4          document.)
    5   BY MR. POWERS:
    6          Q. I realize the formatting might be
    7   a little bit off in Exhibit 5, but generally do
    8   you recognize what is reflected in Exhibit 5?
    9               MS. McENROE: Objection to form.




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                                                                           Review
                                                Page 170                                                        Page 172
                                                             1   threshold logs had already been shipped.
                                                             2   Correct?
                                                   .         3        A. Yes.
    4   BY MR. POWERS:                                       4        Q. I'm going to hand you what's been
    5         Q. Did you make a record of those              5   marked as Rite Aid Exhibit Number -- or Rite
    6   communications at all?                               6   Aid_Hart Exhibit Number 6. It's a multi-page
    7         A. If I did, it would be in email.             7   document with the Bates number
    8   Typically it may be a phone call.                    8   Rite_Aid_OMDL_46227 through 46319. It's a pretty
    9         Q. So besides an email, there was              9   long document. I'm just going to ask you
   10   no -- there was no log of these communications      10   questions about the first page.
   11   that you would have had with the distribution --    11             MS. McENROE: And, Will, do
   12   or, excuse me -- with the individual pharmacy       12        you -- can you reference this is a
   13   managers about particular stores that you had       13        complete document?
   14   questions about from the threshold log; is that     14             MR. POWERS: I believe, once
   15   right?                                              15        again, it's the range that was identified
   16         A. Pharmacy district managers. And            16        in the interrogatory responses.
   17   that is right.                                      17                 - - -
   18         Q. Do you ever recall noticing                18             (Deposition Exhibit No. Rite
   19   abnormalities of stores consistently ordering       19        Aid-Hart-6, Rite Aid Controlled Drug
   20   hydrocodone products?                               20        Reporting Above Average Controlled Drug
   21         A. There could be stores that                 21        Purchases Report, Bates stamped
   22   consistently ordered hydrocodone, of course.        22        Rite_Aid_OMDL_0046227 through
   23         Q. But I'm saying in this process             23        Rite_Aid_OMDL_0046319, was marked for
   24   we've just talked about, where you contact the      24        identification.)

                                                Page 171                                                      Page 173
    1   pharmacy district manager as a result of the         1            - - -
    2   threshold log, do you specifically recall any        2          THE WITNESS: (Reviewing
    3   instances where you contacted the pharmacy           3      document.)
    4   district manager as a result of hydrocodone          4   BY MR. POWERS:
    5   orders?
    6         A. I don't remember specific to
    7   hydrocodone.
    8         Q. How about specific to any opioid
    9   product that Rite Aid distributed?
   10             MS. McENROE: Objection to form.
   11             THE WITNESS: I do not.
   12   BY MR. POWERS:
   13         Q. Did you use these threshold logs
   14   that you were reviewing quarterly to determine
   15   whether particular orders were suspicious orders?
   16         A. I did not.
   17         Q. Do you know if Chris Belli and
   18   Kevin Mitchell used these logs to determine if
   19   orders were suspicious orders?
   20             MS. McENROE: Objection to form.
   21             THE WITNESS: I do not.
   22   BY MR. POWERS:
   23         Q. To be clear, when you got these
   24   threshold logs, these orders reflected in the

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                                                 Page 178                                                Page 180
                                                             1         Q. What was the extent of Rite Aid's
                                                             2   use of Buzzeo services?
                                                             3         A. Our logistics teams utilized
                                                             4   Buzzeo services to review and inspect the
                                                             5   distribution centers for compliance.
                                                             6         Q. Are you referring to audits when
                                                             7   you say review and inspect?
                                                             8              MS. McENROE: Objection to form.
                                                             9              THE WITNESS: Define what you
                                                            10         mean by "audit."
                                                            11   BY MR. POWERS:
   12   BY MR. POWERS:                                      12         Q. There's been testimony that
   13        Q. Are you familiar with the Buzzeo            13   Buzzeo company came in and audited the Perryman
   14   company?                                            14   Distribution Center at some point in time.
   15        A. I am.                                       15              Is that the same thing you're
   16        Q. Is it also called -- I don't know           16   referring to when you say reviewed and inspected?
   17   how to pronounce this exactly, but Cegedim?         17              MS. McENROE: Objection to form.
   18        A. I am.                                       18              THE WITNESS: I guess there's two
   19        Q. It's the same company?                      19         terms for the definition "audit."
   20        A. (Witness nods head.)                        20              There's an audit of everything in
   21        Q. You have to answer --                       21         the entire distribution center, from
   22        A. Yes. I'm sorry, yes.                        22         paperwork to security to everything along
   23        Q. So if we just refer to it --                23         those lines. And then there's an
   24   throughout our discussion, I can just refer to it   24         individual audit for like specific
                                                 Page 179                                                Page 181
    1   as the Buzzeo company, we'll know what we're         1        controlled substances, so that you would
    2   talking about?                                       2        balance when a controlled substance came
    3        A. That's fine, yes.                            3        in and when it came out to make sure that
    4        Q. What kind of services did Buzzeo             4        all the drugs in the distribution center
    5   offer?                                               5        were accounted for. So, yes, I would say
    6             MS. McENROE: Objection to form.            6        that would be an audit.
    7             THE WITNESS: Ron Buzzeo offered            7   BY MR. POWERS:
    8        services related to regulatory compliance       8        Q. Did Buzzeo ever perform audits on
    9        with DEA rules and regulations. There           9   Rite Aid facilities, as you just described an
   10        was a wealth of services that Ron and his      10   audit?
   11        company offered.                               11        A. I believe he did at the Perryman
   12             They offered a program to go into         12   Distribution Center.
   13        pharmacies and review the pharmacies as        13        Q. Do you know when that was?
   14        far as compliance with DEA rules and           14        A. I don't remember.
   15        regulations. They offered programs on          15        Q. Were you involved in that process
   16        suspicious order monitoring. They              16   of Buzzeo auditing the Perryman Distribution
   17        ordered up programs on how to detect           17   Center?
   18        theft and diversion. There was a wide          18        A. I was not.
   19        gamut of programs that they had offered        19        Q. You also mentioned that Buzzeo
   20        related to controlled substances.              20   had conferences. Right?
   21   BY MR. POWERS:                                      21        A. I don't think I mentioned
   22        Q. Did Rite Aid ever use any of                22   conferences.
   23   those Buzzeo services?                              23        Q. Did Buzzeo have conferences?
   24        A. I believe we did, yes.                      24        A. Buzzeo had conferences.

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                                                     Page 182                                             Page 184
    1         Q. Did you ever attend any of the
    2   Buzzeo conferences personally?
    3         A. I may have attended one
    4   conference when I first came into government
    5   affairs, but that was pretty much the extent of
    6   my attending Buzzeo conferences.
    7         Q. Do you know if anyone else from
    8   Rite Aid attended Buzzeo conferences?
    9         A. Yes. Members of the logistics
   10   team would attend the conferences.
   11         Q. Who from the logistics team would
   12   attend the Buzzeo conferences?
   13         A. It varied from year to year, but
   14   typically either the person that was in the
   15   position of Kevin Mitchell or Chris Belli. I
   16   know that occasionally the DEA coordinators would
   17   attend the Buzzeo conference.
   18         Q. When you say "DEA coordinators,"
   19   you're talking about distribution center
   20   employees?
   21         A. Yes.
   22         Q. I am going to hand you what's
   23   been marked as Exhibit 7. It's a one-page email
   24   Bates stamped Rite_Aid_OMDL_0050632.

                                                   Page 183                                               Page 185
    1               - - -
    2          (Deposition Exhibit No. Rite                      2                - - -
    3      Aid-Hart-7, Email chain, top one dated                3            (Deposition Exhibit No. Rite
    4      2010-11-16, Bates stamped                             4       Aid-Hart-8, Email chain, top one dated
    5      Rite_Aid_OMDL_0050632, was marked for                 5       2010-11-17, Bates stamped
    6      identification.)                                      6       Rite_Aid_OMDL_0050633, was marked for
    7               - - -                                        7       identification.)
    8   BY MR. POWERS:                                           8                - - -
                                                                 9   BY MR. POWERS:
                                                                10       Q. I'm going to hand you what's been
                                                                11   marked as Exhibit 8. It is another email, one
                                                                12   page, with Bates number Rite_Aid_OMDL_0050633.




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                                                Page 186                                                Page 188
                                                             1   Mitchell.
                                                             2              Who was Andrew Palmer?
                                                             3         A. Andrew Palmer was a director in
                                                             4   asset protection at the time, I believe.
                                                             5         Q. Why did you invite him to this
                                                             6   meeting about suspicious order monitoring?
                                                             7         A. Because he was also key as part
                                                             8   of it as well. Him and his team were involved
    9        Q. And why did you send this to                 9   with the analytics related to asset protection
   10   Maggie Perritt?                                     10   and the analytics related to the key performance
   11             Am I pronouncing her name                 11   indicators that were looked at from the asset
   12   correctly?                                          12   protection side.
   13        A. Yeah, you're pronouncing it                 13         Q. How did you use the -- let me
   14   correctly.                                          14   back up.
   15        Q. Why did you send this email about           15              Did you use the asset protection
   16   suspicious order monitoring to Maggie Perritt?      16   analytics to determine whether orders were
   17        A. Maggie Perritt was in pharmacy              17   suspicious or not?
   18   operations and was knowledgeable of the             18              MS. McENROE: Objection to form.
   19   suspicious order monitoring algorithm and how the   19              THE WITNESS: We used the asset
   20   system worked.                                      20         protection analytics to review orders and
   21        Q. When you say "suspicious order              21         look for abnormalities. We did not use
   22   monitoring algorithm," what are you referring to?   22         the analytics from asset protection prior
   23        A. The algorithm for placing the               23         to an order being shipped.
   24   store's order through the -- looking at the 13      24   BY MR. POWERS:
                                                Page 187                                                Page 189
    1   weeks and then going a certain percentage above
    2   to place the order.
    3         Q. Is that also the auto
    4   replenishment system that we talked about before?
    5         A. Yes.
    6         Q. Why are you referring to it as a
    7   suspicious order monitoring system?
    8               MS. McENROE: Objection, form.
    9               THE WITNESS: In this one, since
   10         it's under suspicious monitoring, that's
   11         why I was referring to that, is that --
   12         because that was the title of this
   13         particular meeting and she was bringing
   14         that aspect of it into it.
   15   BY MR. POWERS:
   16         Q. So Maggie Perritt was the expert
   17   on the auto replenishment system that was invited
   18   to the suspicious order monitoring meeting; is
   19   that right?
   20               MS. McENROE: Objection to form.
   21               THE WITNESS: From the pharmacy
   22         operations side, yes.
   23   BY MR. POWERS:
   24         Q. And then we talked about Kevin

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                                              21       Q. I'm going to hand you what's been
                                              22   marked as Hart Exhibit 9.
                                              23              - - -
                                              24           (Deposition Exhibit No. Rite

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                                                                           Review
                                           Page 194                                                Page 196
    1        Aid-Hart-9, Email chain top one dated
    2        Email dated 2010-04-11, Bates stamped
    3        Rite_Aid_OMDL_0050628 through
    4        Rite_Aid_OMDL_0050630, was marked for
    5        identification.)
    6                 - - -
    7   BY MR. POWERS:
    8        Q. This is Rite_Aid_OMDL_0050628
    9   through 0050630. Take a look at that.
   10        A. (Reviewing document.)




                                                      24       Q.    You said that you determined that
                                           Page 195                                                Page 197
                                                       1   the Rite Aid system was compliant.
                                                       2             How did you make that
                                                       3   determination?
                                                       4        A. We looked at the different
                                                       5   components of it and determined that, because of
                                                       6   the Code of Federal Regulations, the DEA not
                                                       7   providing true guidance on a suspicious order
                                                       8   monitoring program, we met the -- we met the
                                                       9   requirements of that.
                                                      10        Q. What do you mean by the DEA --
                                                      11   when you said the DEA did not provide true
                                                      12   guidance?
                                                      13        A. The DEA did not put out what an
                                                      14   order -- a suspicious order monitoring program
                                                      15   should look at exactly. They would say that it
                                                      16   should meet your book of business, but they never
                                                      17   put out a list of -- suspicious order monitoring
                                                      18   must be numbers 1 through 8 that you must have in
                                                      19   your program.
                                                      20        Q. Did you look at anything else
                                                      21   besides the Code of Federal Regulations itself to
                                                      22   determine that your suspicious order monitoring
                                                      23   system was compliant?
                                                      24        A. I don't remember if we did or

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                                                 Page 198                                          Page 200
    1   not.
    2         Q. Did you look at any Buzzeo
    3   materials to determine whether it was compliant
    4   or not?
    5         A. We did not.
    6         Q. Did you look at other
    7   distributors' suspicious order monitoring
    8   programs to determine whether your Rite Aid
    9   system was compliant?
   10               MS. McENROE: Objection to form.
   11               THE WITNESS: We did not, from
   12         the perspective of our system was
   13         different than other distributors and our
   14         system was different from the Buzzeo
   15         programs that were offered in the fact
   16         that we were a closed system. Part of
   17         other distributors that are out there,
   18         their system was know -- part of it is
   19         know your customer, where obviously we
   20         know our customer. And so we looked at
   21         it from that approach.
   22   BY MR. POWERS:
   23         Q. When you say you know your
   24   customer, are you referring to the customers as
                                                   Page 199                                        Page 201
    1   the individual Rite Aid stores?
    2         A. I am.
    3         Q. So in your view, you never got
    4   DEA guidance on the sufficiency of Rite Aid's
    5   suspicious order monitoring program; is that
    6   right?
    7             MS. McENROE: Objection to form.
    8             THE WITNESS: We never got DEA
    9         guidance.
   10                 - - -
   11             (Deposition Exhibit No. Rite
   12         Aid-Hart-10, Email dated 2011-06-03,
   13         Bates stamped Rite_Aid_OMDL_0050634, was
   14         marked for identification.)
   15                 - - -                                   15        MS. McENROE: When you got a
   16   BY MR. POWERS:                                        16   chance, we have been going about an hour,
                                                              17   for a quick break.
                                                              18        MR. POWERS: Okay. I got it.
                                                              19   Just a couple more questions on this
                                                              20   line.
                                                              21        MS. McENROE: Sure.
                                                              22            - - -
                                                              23        (Deposition Exhibit No. Rite
                                                              24   Aid-Hart-11, Email chain, top one dated

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                                                    Page 202                                                Page 204
    1        2002-05-14, Bates stamped
    2        Rite_Aid_OMDL_0046770 through
    3        Rite_Aid_OMDL_0046789, was marked for
    4        identification.)
    5                 - - -
    6   BY MR. POWERS:
    7        Q. I should have asked you.
    8            Are you okay to go a few more
    9   minutes?
   10        A. (Witness nods head.)
   11        Q. I'm going to hand you what's
   12   marked Exhibit 11. It's a document, an email and
   13   attachment, Bates number Rite_Aid_OMDL_0046770
   14   through 46789.
   15        A. (Reviewing document.)
   16        Q. Are you familiar with the
   17   document in Exhibit 11?
   18        A. (Reviewing document.)
   19        Q. I'll say that I'm not going to
   20   ask you direct questions about the email
   21   attachment.
   22            I'm just saying, are you
   23   generally familiar with this document in
   24   Exhibit 11?

                                                   Page 203                                                 Page 205



                                                                3        Q. So were you asking whether or not
                                                                4   Chris Belli was setting up webinars and visits
                                                                5   with the Buzzeo folks?
                                                                6        A. It could be.
                                                                7        Q. Do you know if he ever did that?
                                                                8        A. I don't remember.
                                                                9             Before we go back to -- go to
                                                               10   another document, may I go back and expand upon
                                                               11   an answer to a past question?
                                                               12        Q. Sure.
                                                               13        A. You had asked me the question,
                                                               14   had Rite Aid seeked guidance from the DEA or had
                                                               15   gotten any comments from the DEA.
                                                               16             The Perryman Distribution Center
                                                               17   was inspected by the DEA in 2005, 2009 and 2012.
                                                               18   As the standard operating procedures and the
                                                               19   suspicious order monitoring programs were
                                                               20   reviewed at all of those times, and there was no
                                                               21   deficiencies noted. I just wanted to make that
                                                               22   part of the record, to say -- when I say we
                                                               23   didn't seek DEA guidance, but we had the DEA that
                                                               24   went to the distribution centers and did some

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                                               Page 206                                                      Page 208
                                                           1         A. When I had the Baltimore market,
    2         Q. Were you present at any of those          2   that was also Don's area from the DEA. So he
    3   DEA audits?                                        3   would visit stores or seek prescriptions, things
    4         A. I was not.                                4   like that.
    5         Q. So you don't have any firsthand           5         Q. When you say you had the
    6   knowledge of those audits, do you?                 6   Baltimore market, what time period was that from?
    7              MS. McENROE: Objection to form.         7         A. That was prior to 1995 when I
    8              THE WITNESS: I have -- there's          8   moved into the corporate office.
    9         various emails and communications from       9         Q. So you knew him from your time in
   10         the individuals that were at the DEA        10   Baltimore. Right?
   11         audits.                                     11         A. I did.
   12   BY MR. POWERS:                                    12         Q. So that would have been sometime
   13         Q. But you didn't talk to any of the        13   before '95. Right?
   14   DEA agents who did the inspections, did you?      14         A. Yes.
   15         A. Not that I remember.                     15         Q. So you knew Don Tush for a while
   16         Q. So all the information that you          16   before he audited the Perryman facility in 2012.
   17   learned about those DEA audits was from someone   17   Right?
   18   at the distribution center itself?                18              MS. McENROE: Objection to form.
   19         A. That is correct.                         19              THE WITNESS: Yes. But then I
   20              MS. McENROE: Will, before we           20         moved out of the area to Camp Hill.
   21         move to another document, can we take a     21   BY MR. POWERS:
   22         comfort break?                              22         Q. I'm going to hand you what's been
   23              MR. POWERS: Sure.                      23   marked as Hart Exhibit 12. It's some emails with
   24              THE VIDEOGRAPHER: Going off the        24   the Bates stamp Rite_Aid_OMDL_0013345 through

                                               Page 207                                                    Page 209
    1         record at 2:30.                              1   3346.
    2                 - - -                                2               - - -
    3             (A recess was taken from                 3          (Deposition Exhibit No. Rite
    4         2:30 p.m. to 2:51 p.m.)                      4      Aid-Hart-12, Email chain, top one dated
    5                 - - -                                5      2012-07-11, Bates stamped
    6             THE VIDEOGRAPHER: Back on the            6      Rite_Aid_OMDL_0013345 and
    7         record at 2:51 p.m.                          7      Rite_Aid_OMDL_0013346, was marked for
    8   BY MR. POWERS:                                     8      identification.)
    9         Q. Right before the break we were            9               - - -
   10   talking about DEA inspectors. Right?              10   BY MR. POWERS:
   11         A. Yes.                                     11      Q. Take a look at that.
   12         Q. Do you know any DEA inspectors           12      A. (Reviewing document.)
   13   personally?
   14         A. I know a lot of DEA inspectors.
   15         Q. Do you know any DEA -- do you
   16   know -- let me back up here.
   17             Those DEA inspectors that you
   18   know personally, do you know any of them who
   19   audited the Perryman Distribution Center?
   20         A. I do know one of the DEA agents
   21   that audited Perryman.
   22         Q. Who was that?
   23         A. Doug -- Don Tush.
   24         Q. How do you know Don Tush?

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                                                                           Review
                                              Page 210                                                     Page 212
                                                           1         expertise.
                                                           2   BY MR. POWERS:
                                                           3         Q. Do you know if the Buzzeo
                                                           4   organization had former DEA employees in its
                                                           5   employment?
                                                           6         A. They did.
                                                           7         Q. Rite Aid used the Buzzeo
                                                           8   organization to perform some audits at the
                                                           9   distribution center, at least the distribution
                                                          10   center in Perryman. Right?
                                                          11         A. We did.
                                                          12         Q. So if Buzzeo did not have the
                                                          13   expertise, why did you allow -- why did Rite Aid
                                                          14   allow Buzzeo to come do audits?
                                                          15              MS. McENROE: Objection.
                                                          16              THE WITNESS: He was -- the
                                                          17         Buzzeo organization had knowledge of the
                                                          18         rules and laws and regulations. And many
                                                          19         times, it's much better to have someone
                                                          20         with eyes from the outside come in and
                                                          21         look at your operations and do an audit
                                                          22         and review, as a second set of eyes
                                                          23         looking at your policies and procedures.
                                                          24   BY MR. POWERS:
                                              Page 211                                                       Page 213
                                                           1         Q. Do you consider Buzzeo's
                                                           2   knowledge of the rules and laws and regulations
                                                           3   not to be expertise?
                                                           4              MS. McENROE: Objection to form.
                                                           5              THE WITNESS: I think they are
                                                           6         one of the industry-leading companies
                                                           7         that have products that they sell to
                                                           8         pharmacies and distribution centers to go
                                                           9         out and do audits and accountabilities.
                                                          10                 - - -
                                                          11              (Deposition Exhibit No. Rite
                                                          12         Aid-Hart-13, Email dated 2012-05-18,
                                                          13         Bates stamped Rite_Aid_OMDL_0046855
   14             Before the break, we were also          14         through Rite_Aid_OMDL_0046875, was marked
   15   talking about the Buzzeo organization. Correct?   15         for identification.)
   16        A. Correct.                                  16                 - - -
   17        Q. And the Buzzeo organization had           17   BY MR. POWERS:
   18   expertise in things like suspicious order         18         Q. I'm going to hand you what's been
   19   monitoring. Correct?                              19   marked Rite Aid-Hart Exhibit 13. The Bates
   20             MS. McENROE: Objection to form.         20   number on this exhibit is Rite_Aid_OMDL_46855
   21             THE WITNESS: I'm not sure that I        21   through 46875. It's an email and an attachment.
   22        would say that they had expertise. I         22              Why don't you take a look at
   23        think they had presentations and             23   that.
   24        programs. I'm not sure they had              24         A. (Reviewing document.)

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                                                 Page 214                 Page 216
    1        Q. Once again, this is a multi-page
    2   document. I'm going to tell you, I'm going to
    3   ask questions about the email and only particular
    4   pages in the attachment, if that helps your
    5   review.
    6        A. Pardon me. The first page and
    7   what other pages?
    8        Q. Please feel free to review the
    9   attachments to the extent you need to, but I will
   10   only be asking questions about a couple
   11   particular pages that we can -- that I can
   12   identify to you when we get to them.
   13        A. Okay.
   14             (Reviewing document.)




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                                           Page 226                       Page 228




   12   BY MR. POWERS:
   13       Q. I'm going to hand you what's been
   14   marked as Rite Aid Hart Exhibit 14. It's an
   15   email exchange, 38054 through 38055.
   16            Take a look at that.
   17                - - -
   18            (Deposition Exhibit No. Rite
   19       Aid-Hart-14, Email chain, top one dated
   20       2012-12-18, Bates stamped
   21       Rite_Aid_OMDL_0038054 and
   22       Rite_Aid_OMDL_0038055, was marked for
   23       identification.)
   24                - - -
                                           Page 227                       Page 229
    1          THE WITNESS: (Reviewing
    2      document.)
    3   BY MR. POWERS:




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                                                   .
   19                - - -
   20             (Deposition Exhibit No. Rite
   21        Aid-Hart-15, Email dated 2013-09-04,
   22        Bates stamped Rite_Aid_OMDL_0046648
   23        through Rite_Aid_OMDL_0046662, was marked
   24        for identification.)

                                                        Page 239                Page 241
    1                - - -
    2   BY MR. POWERS:
    3        Q. I'm going to hand you what's been
    4   marked as Rite Aid-Hart Exhibit 15. This is an
    5   email, again with some attachments. The Bates
    6   numbers on this exhibit are Rite_Aid_OMDL_0046648
    7   through 46662.
    8             And I'm going to try to do the
    9   same thing as we've done with some of these other
   10   emails with long attachments. I'm just going to
   11   ask you about the initial email and just a
   12   particular couple pages that are attached to the
   13   email.
   14        A. (Reviewing document.)
   15        Q. Have you had a chance to review
   16   Exhibit 15?
   17        A. I have.




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                                              23                 - - -
                                              24              (Deposition Exhibit No. Rite
                                   Page 247                                                         Page 249
                                               1          Aid-Hart-16, Email dated 2013-12-24,
                                               2          Bates stamped Rite_Aid_OMDL_0016186 and
                                               3          Rite_Aid_OMDL_0016187, was marked for
                                               4          identification.)
                                               5                   - - -
                                               6   BY MR. POWERS:
                                               7          Q. I'm going to hand you what has
                                               8   been marked as Rite Aid-Hart Exhibit Number 16.
                                               9   It is -- surprise, surprise -- another email and
                                              10   attachments. The email is Bates stamp
                                              11   Rite_Aid_OMDL_0016186. And the attachment, which
                                              12   was a native Excel sheet, just has one Bates
                                              13   number, although it's a couple different pages.
                                              14   The Bates number of the attachment is
                                              15   Rite_Aid_OMDL_0016187.
                                              16          A. (Reviewing document.)
                                              17          Q. Is the document -- the email and
                                              18   attachment reflected in Exhibit 16 familiar to
                                              19   you?




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                                                                           Review
                                   Page 258                                                Page 260
                                               1   things that we talked about in the daily column
                                               2   here on the "Specialist, Regulatory Compliance"
                                               3   page, you said those were being done at the
                                               4   distribution center. Right?
                                               5         A. Yes.
                                               6         Q. What's your basis for saying
                                               7   that?
                                               8         A. The distribution center was
                                               9   responsible for the picking, reviewing the
                                              10   orders, determining if it was suspicious or not,
                                              11   making the phone call to the pharmacist. And at
                                              12   the same time, if there was a suspicious order,
                                              13   the distribution center was responsible to report
                                              14   that in to corporate. That was part of their
                                              15   standard operating procedures.
                                              16         Q. I just want to be clear. You
                                              17   just said that the distribution center was
                                              18   responsible for determining whether a particular
                                              19   order was suspicious or not; is that right?
                                              20         A. The distribution center was
                                              21   responsible for identifying orders and
                                              22   determining if they were suspicious, yes.
                                              23         Q. Moving on to the next page, the
                                              24   one entitled "Senior Analyst, Controlled
                                   Page 259                                                Page 261




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                                               7         MS. McENROE: We've been going a
                                               8   little over an hour.
                                               9         MR. POWERS: You read my mind.
                                              10   Let's take a break.
                                              11         THE VIDEOGRAPHER: Going off the
                                              12   record at 3:56.
                                              13             - - -
                                              14         (A recess was taken from
                                              15   3:56 p.m. to 4:26 p.m.)
                                              16             - - -
                                              17         THE VIDEOGRAPHER: We're back on
                                              18   the record at 4:26 p.m.
                                              19         MR. POWERS: I have no further
                                              20   questions for the witness.
                                              21         MS. McENROE: Great. Thank you.
                                              22   We have no further questions as well.
                                              23   And we view this as the end of Ms. Hart's
                                              24   fact deposition.

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    1            MR. POWERS: Yes. She's coming                  1           INSTRUCTIONS TO WITNESS
    2        back for the 30(b)(6) tomorrow.                    2
    3            MS. McENROE: Agreed. Thank you.                3             Please read your deposition over
    4            THE VIDEOGRAPHER: This ends                    4   carefully and make any necessary corrections.
    5        today's deposition. We're going off the            5   You should state the reason in the appropriate
    6        record. The time is 4:26 p.m.                      6   space on the errata sheet for any corrections
    7            (Witness excused.)                             7   that are made.
    8            (Deposition concluded at                       8             After doing so, please sign the
    9        approximately 4:26 p.m.)                           9   errata sheet and date it.
   10                                                          10             You are signing same subject to
   11                                                          11   the changes you have noted on the errata sheet,
   12                                                          12   which will be attached to your deposition.
   13                                                          13             It is imperative that you return
   14                                                          14   the original errata sheet to the deposing
   15                                                          15   attorney within thirty (30) days of receipt of
   16                                                          16   the deposition transcript by you. If you fail to
   17                                                          17   do so, the deposition transcript may be deemed to
   18                                                          18   be accurate and may be used in court.
   19                                                          19
   20                                                          20
   21                                                          21
   22                                                          22
   23                                                          23
   24                                                          24

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    1                                                           1           - - - - - -
    2              CERTIFICATE                                               ERRATA
    3
                                                                2           - - - - - -
    4
                                                                3
    5           I HEREBY CERTIFY that the witness
      was duly sworn by me and that the deposition is a         4 PAGE LINE CHANGE
    6 true record of the testimony given by the                 5 ____ ____ _____________________________________
      witness.                                                  6     REASON: _____________________________________
    7
                It was requested before                7            ____ ____ _____________________________________
    8 completion of the deposition that the witness,   8              REASON: _____________________________________
      JANET GETZEY HART, have the opportunity to read 9             ____ ____ _____________________________________
    9 and sign the deposition transcript.
                                                      10              REASON: _____________________________________
   10
   11                                                          11   ____ ____ _____________________________________
   12                                                          12     REASON: _____________________________________
   13                                                          13   ____ ____ _____________________________________
            __________________________________                 14     REASON: _____________________________________
   14       ANN MARIE MITCHELL, a Federally
                                                               15   ____ ____ _____________________________________
            Approved Certified Realtime
   15       Reporter, Registered Diplomate                     16     REASON: _____________________________________
            Reporter, Registered Merit Reporter and            17   ____ ____ _____________________________________
   16       Notary Public                                      18     REASON: _____________________________________
   17
   18
                                                               19   ____ ____ _____________________________________
   19             (The foregoing certification of              20     REASON: _____________________________________
   20   this transcript does not apply to any                  21   ____ ____ _____________________________________
   21   reproduction of the same by any means, unless          22     REASON: _____________________________________
   22   under the direct control and/or supervision of         23   ____ ____ _____________________________________
   23   the certifying reporter.)
   24                                                          24     REASON: _____________________________________

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    1
    2         ACKNOWLEDGMENT OF DEPONENT
    3
    4           I,_____________________, do
    5 hereby certify that I have read the foregoing
    6 pages, 1 - 274, and that the same is a correct
    7 transcription of the answers given by me to the
    8 questions therein propounded, except for the
    9 corrections or changes in form or substance, if
   10 any, noted in the attached Errata Sheet.
   11
   12
   13 ________________________________________________
   14 JANET GETZEY HART                     DATE
   15
   16
   17 Subscribed and sworn
      to before me this
   18 _____ day of ______________, 20____.
   19 My commission expires:______________
   20
      ____________________________________
   21 Notary Public
   22
   23
   24




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